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  1 [Attorneys On Next Page]
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  8                          UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10                                   WESTERN DIVISION
 11
 12 GIGANEWS, INC., a Texas corporation; Case No.: 2:17-cv-05075-AB (JPR)
    and LIVEWIRE SERVICES, INC., a
 13 Nevada corporation,                   DISCOVERY MATTER
                                          Before Hon. Jean P. Rosenbluth
 14                 Plaintiffs,
                                          JOINT STIPULATION
 15       v.                              REGARDING PLAINTIFFS’
                                          MOTION TO COMPEL
 16 PERFECT 10, INC., a California        PRODUCTION OF DOCUMENTS
    corporation; NORMAN ZADA, an          AND FOR PROTECTIVE ORDER
 17 individual; and DOES 1-50, inclusive, (LOCAL RULE 37-2)
 18                    Defendants.              Date:      July 19, 2018
                                                Time:      10:00 a.m.
 19                                             Courtroom: 690, 255 E. Temple St.,
                                                           Los Angeles, CA 90012
 20
                                                Discovery Cut-off: July 27, 2018
 21                                             Trial Date:        January 15, 2019
 22
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      JOINT STIPULATION RE PLAINTIFFS’ MOTION
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  1 I.      INTRODUCTION
  2         The parties submit this joint stipulation on Plaintiffs Giganews and Livewire
  3 Service’s motion for protective order. Civ. L. R. 37-2. The parties conducted
  4 conferences of counsel by telephone on April 25 and May 29, 2018. As Local Rule
  5 37-2.1 requires, Plaintiffs attach a copy of the Court’s scheduling order as Exhibit
  6 A to the Declaration of Todd Gregorian (“Gregorian Decl.”), which accompanies
  7 this joint stipulation.
  8         Fact discovery closes on July 27, 2018 and expert discovery closes on
  9 September 14, 2018.
 10         A.     Plaintiffs’ Preliminary Statement
 11         Plaintiffs seek to recover cash and assets that Perfect 10’s CEO Norman Zada
 12 transferred from Perfect 10 to himself to avoid paying the Court’s $5+ million fee
                                                                                  1


 13 award in Perfect 10 v. Giganews, C.D. Cal. No. CV 11-7098 (“Related Case”).
 14 Zada took $850,000 out of Perfect 10’s bank account immediately after the District
 15 Court granted summary judgment. See Related Case, Dkt. 802 at 3. He “bought”
 16 Perfect 10’s physical assets, nominally paying in cash, but then he continued to
 17 transfer that cash indiscriminately between Perfect 10 and his personal accounts.
 18 Zada testified that he did so to avoid enforcement of the Court’s judgment and
 19 resulting “interference” with Perfect 10’s business. These are classic fraudulent
 20 transfers to hinder a creditor’s collection against Perfect 10.
 21         Perfect 10’s discovery abuse that Mr. Zada orchestrated in the original case
 22 was extreme. The Court compelled discovery numerous times and Perfect 10
 23 violated nearly every order. See Related Case, Dkts. 223, 254, 311, 312, 320, 322,
 24 326, 342 and 676. Perfect 10 and Zada provided false declarations, searched
 25 insufficiently, deleted email accounts, discarded computers, withheld responsive
 26
 27  The District Court awarded approximately $5.6 million; with an award of
      1
    appellate fees by the Ninth Circuit, the award has climbed to approximately $6.5
 28 million.
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  1 non-privileged documents, and delayed large (yet incomplete) productions to
  2 impede depositions. See generally, Related Case, Dkt. 676.2 They also sought to
  3 impose unreasonable burdens in discovery requests to Giganews and Livewire. See
  4 Related Case, Dkts. 216, 295, 316, & 412.
  5         Perfect 10 and Zada follow the same pattern in this case; in addition, their
  6 discovery efforts wildly chase facts and issues that are not relevant to this case or
  7 even to the earlier case. This case is narrow. It concerns Zada’s manipulation of
  8 Perfect 10’s finances to dodge the fee award against Perfect 10 that actually
  9 occurred, and the sanctions award that Zada and Perfect 10’s counsel manifestly
 10 expected, in the earlier case.
 11         Giganews and Livewire seek the Court’s assistance with three disputes:
 12         1.      Ordering production of Perfect 10’s and Mr. Zada’s financial
 13 information. This is a fraudulent transfer action. Perfect 10’s and Mr. Zada’s
 14 financial records are therefore relevant for a host of reasons:
 15         • They will identify the transfers between Perfect 10 and Zada and, if
 16              necessary, help trace the transferred funds and assets.
 17         • They will show the transfers left Perfect 10 insolvent. A transfer is
 18              fraudulent if the source of the transfer can no longer pay its reasonably
 19              foreseeable expenses. Mr. Zada often took money out of Perfect 10 and
 20              paid its expenses from his own accounts. Discovery of Zada’s financial
 21              records is necessary to identify Perfect 10’s reasonable expenses.
 22         • They will show Mr. Zada’s wrongful intent and the falsity of his
 23              representations to the Court. Zada offered to settle the $5+ million
 24              judgment against Perfect 10 for $2 million plus future contingent rights to
 25              foreclose on real estate. He claims that the offer evidenced his innocent
 26
 27   The Magistrate Judge ultimately vacated his sanctions order against Perfect 10,
      2
    but only on the grounds that the District Court’s fee award had mooted Plaintiffs’
 28 request for monetary sanctions.
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  1              intent, because, as he represented to this Court, he lacked “available”
  2              additional funds to offer more. Zada has also recently claimed, contrary
  3              to his sworn testimony, that he moved Perfect 10’s cash into his own
  4              accounts to earn a better rate of return. Discovery of both Perfect 10’s
  5              and Zada’s records is necessary to show the falsity of these claims.
  6         Defendants have refused to provide documents regarding funds and assets
  7 that are nominally Zada’s. They want to cherry-pick records to disclose in order to
  8 present a misleading picture. The particular dispute here concerns documents
  9 regarding liabilities of Perfect 10 and Zada. Perfect 10 invokes its production in the
 10 original case to avoid a proper production now. That production is incomplete, up
 11 to four years old. Zada has refused to produce his complete records even though
 12 they admittedly reflect debts he incurred for Perfect 10. These documents are both
 13 relevant and proportional: Plaintiffs and the Court have no way to assess Perfect
 14 10’s “reasonable expenses” if those expenses are “off the books,” in Zada’s
 15 “personal” records that he will not disclose. The Court should not allow Perfect 10
 16 and Zada to play a shell game hiding unfavorable evidence behind a self-serving
 17 claim that the evidence relates to Zada and not Perfect 10.
 18         2.      Preventing Mr. Zada’s harassment of Giganews co-CEO Ronald
 19 Yokubaitis. Although fact discovery closes shortly, Defendants have noticed only
 20 one deposition, of Giganews co-CEO Ronald Yokubaitis. Mr. Yokubaitis has no
 21 personal knowledge about the fraudulent transfers at issue here. Plaintiffs have not
 22 disclosed him as a witness. Defendants have provided no reason for deposing him
 23 beyond saying that Yokubaitis has made “various central decisions” in this case.
 24 (Gregorian Decl. Ex. B.) But before taking an “apex” deposition, a party must
 25 show the deponent has unique relevant information and that it has no less intrusive
 26 means of discovering that information. Defendants have not identified information
 27 unique to Mr. Yokubaitis and they have not attempted any other means (such as a
 28
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  1 30(b)(6) deposition) to obtain it. The Court should therefore protect Mr. Yokubaitis
  2 from having to sit for a deposition.
  3         3.     Limiting Perfect 10’s excessive and irrelevant admission requests.
  4 Perfect 10 served 410 requests for admission on topics ranging from child
  5 pornography to European criminal investigations to a car-stealing robot. Plaintiffs
  6 offered to admit or deny 78 relevant requests (with objection to certain others) if
  7 Defendants withdrew the remainder. But Defendants refused a reasonable
  8 compromise. The Court should therefore issue a protective order limiting
  9 Defendants to requests for admission Nos. 128 to 206 (which Plaintiffs offered to
 10 answer), and precluding further requests for admission including the irrelevant
 11 requests identified below.
 12         B.     Defendants’ Preliminary Statement
 13         Defendants object to Plaintiffs’ obvious attempts to smear Dr. Zada rather
 14 than dealing with the issues. Dr. Zada is a former Stanford, UCLA, and Columbia
 15 University professor who is not the demon they make him out to be. Plaintiffs
 16 employed the same smear campaign tactics in the related case to obtain a shocking
 17 ruling that has been severely criticized by the Recording Industry Association of
 18 America (“RIAA”). The RIAA has described Plaintiffs as “shady companies”
 19 engaging in “blatant copyright infringement.” See Declaration of Dr. Norman
 20 Zada, (“Zada Decl.”) ¶9, Exh. 3.)
 21         In the Related Case, the truth is that Perfect 10 produced more than 30 times
 22 as many documents as did Plaintiffs, along with a multi-colored, six page
 23 production log. Perfect 10 produced its tax returns, bank records, detailed financial
 24 statements which detail every check and to which person, going back in most cases
 25 to 1996. It produced its server logs, copyright certificates, model releases,
 26 assignments of rights, settlement agreements, and a raft of other things, while
 27 Plaintiffs produced next to nothing. (Zada Decl. ¶3, Exh. 1.)
 28
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  1         Plaintiff’s claim that “Perfect 10’s discovery abuse that Mr. Zada orchestrated
  2 in the original case was extreme.” In fact, there is no such finding in the record, as
  3 the interim finding to which Plaintiffs refer, Dkt. 676, was vacated. (See Dkt.
  4 685.)3 Plaintiffs claim that “Perfect 10 and Zada provided false declarations,” again
  5 citing to Dkt. 676. There is no such finding in 676. In fact, the term “false” only
  6 appears once in the entire document (and not in respect to Dr. Zada or P10).
  7         Moreover, Plaintiffs improperly attempt to litigate the merits in their Motion.
  8 They make the tired allegation that that “Zada testified that he did so [transferred
  9 funds] to avoid enforcement of the Court’s judgment…” No cite is given because
 10 no cite exists. That is a complete and utter mischaracterization of Dr. Zada’s
 11 testimony in the Related Action. Plaintiffs should end their obvious smear
 12 campaign and just deal with the facts.
 13         Dr. Zada has agreed to produce on July 2 any missing Perfect 10 financial
 14 information, his personal 2014-2016 tax returns, his credit card statements from
 15 January 2014 to January 2017, his personal bank statements from December 2012
 16 to March 2015, documents relating to his 2015 home loan, and even copies of his
 17 brokerage and bank statements at the end of 2014 to show that he did not have the
 18 $5.8 million in cash to pay off the judgment. ( Zada Decl. ¶4.)
 19         In other words, Plaintiffs are being given everything they need. In contrast,
 20 Plaintiffs have produced no documents whatsoever, have refused to answer most
 21 interrogatories, and have refused to answer even a single Request for
 22 Admission.
 23         It is Perfect 10’s contention that Plaintiffs won the prior case primarily by a)
 24 manufacturing discovery disputes that did not exist, and in the process, so
 25
     Defendants contend that the vacated discovery order in the Related Case was
      3

 26 incorrect. It consisted of a 56 page proposed order drafted by Plaintiffs that was
    adopted wholesale by the previous magistrate judge (Hillman). Had the sanction
 27 order been entered, Defendants would have appealed it; but because it was vacated,
    Defendants had no opportunity to appeal. (Zada Decl. ¶6.) Plaintiffs cannot rely
 28 upon a vacated discovery order to hurl mud at Defendants in this litigation.
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  1 poisoning the Court against Perfect 10 that it was possible to persuade the District
  2 Court judge to make a decision that was legally and factually incorrect. After the
  3 entry of the judgment, the RIAA and MPAA filed Amicus briefs in support of
  4 Perfect 10’s appeal to the Ninth Circuit, which argued that the District Court got the
  5 case wrong. Plaintiffs evidently intend to continue that strategy here. The Court
  6 should not indulge them.
  7         Plaintiffs’ Motion should be denied in its entirety, for the following reasons:
  8 First, RFP No. 6 solely asks for Defendants’ liabilities, not their assets. So
  9 Plaintiffs’ request that the Court to order “production of Perfect 10’s and Mr.
 10 Zada’s financial information,” is beyond what RFP No. 6 seeks. The Motion
 11 should be denied on this ground alone. Dr. Zada and Perfect 10 have already
 12 completely enumerated their liabilities. (See Amended response to RFP 6). There
 13 is nothing left to disclose. The simple fact is that Plaintiffs are wasting the court’s
 14 time with this Motion, because they already know Perfect 10’s and Dr. Zada’s
 15 liabilities, and will be receiving a raft of other financial documents on July 2.
 16         With regard to the Yokubaitis deposition, that individual was deposed in the
 17 Related Case, and there is no reason to disallow his deposition now. Mr.
 18 Yokubaitis is the CEO of a relatively small private company that subsists entirely
 19 on the unauthorized sale of other people’s copyrighted works. He was responsible
 20 for the filing of the present lawsuit and Perfect 10 and Dr. Zada have every right to
 21 depose him to determine the basis for the suit.
 22         Finally, given that Plaintiffs have produced no documents, and refused to
 23 answer most interrogatories, it is imperative that the Court order them to respond to
 24 each of the RFAs which were designed to establish facts that would allow
 25 Defendants to rapidly make their case. A major issue in this case is whether Perfect
 26 10 believed it would win the Related Case. If it expected to win, then it would not
 27 have expected there to be any creditors, and none of the allegedly unlawful
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     6
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  1 transfers could be unlawful. For that reason, it is imperative that Plaintiffs be
  2 ordered to admit or deny that a) the RIAA and the MPAA both submitted Amicus
  3 briefs in support of Perfect 10’s appeal before the Ninth Circuit, urging reversal, the
  4 Justice Department filed an Amicus brief in the DC appeals court which supported
  5 Perfect 10 argument for direct infringement liability, Perfect 10 had won a previous
  6 similar case against Usenet Operator GUBA in 2002, no Usenet Operator had
  7 previously won, Usenet Operators have been arrested in Europe, and a slew of other
  8 RFAs which will establish why Perfect 10 believed it would win.
  9 II.     PLAINTIFFS’ MOTION TO COMPEL DOCUMENTS
 10         A.     Giganews’s First Set of Requests for Production of Documents
 11         Request for Production No. 6 4
 12         All documents identifying liabilities of Norman Zada, Perfect 10, or any
 13 other nonpublic entity or business in which Norman Zada has a voting,
 14 management, ownership, or other financial interest, including potential or
 15 contingent liabilities.
 16         Response to Request for Production No. 6 (Perfect 10)
 17         Perfect 10 incorporates the General Objections as set forth above herein.
 18         Perfect 10 objects to his request on the grounds that it is compound, and also
 19 vague and ambiguous. Perfect 10 objects to this request on the grounds that it is
 20 burdensome, oppressive and vastly overbroad. Perfect 10 objects to this request on
 21 the basis that it does not specify the documents sought with particularity. Perfect
 22 10 further objects to this request as it seeks the disclosure of information protected
 23 from discovery by the attorney-client privilege and the attorney work product
 24 doctrine. Perfect 10 further objects to this request on the grounds that it seeks
 25 information not relevant to the subject matter of the action, and not reasonably
 26 calculated to lead to the discovery of admissible evidence.
 27
     Giganews served identical requests on Perfect 10 and Mr. Zada, and Perfect 10
      4
 28 and Mr. Zada served substantively identical responses.
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    7
      TO COMPEL PRODUCTION OF DOCUMENTS AND               CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Subject to the above specific objections and Perfect 10’s general objections,
  2 Perfect 10 responds as follows:
  3         Following the entry of a suitable protective order, Perfect 10 will produce
  4 responsive non-privileged documents that it can locate upon a reasonable search,
  5 that have not already been produced, with respect to its debt to Dr. Zada. Dr. Zada
  6 will produce documents sufficient to establish that he borrowed approximately $3.5
  7 million in late April of 2015 on his home at 11803 Norfield Ct.
  8         Amended Response to Request for Production No. 6 (Zada)
  9         Dr. Zada incorporates the General Objections as set forth above herein.
 10         Dr. Zada 10 objects to this request on the grounds that it is compound, and
 11 also vague and ambiguous. Dr. Zada objects to this request on the grounds that it is
 12 burdensome, wildly oppressive and vastly overbroad, as it is unlimited as to Dr.
 13 Zada objects to this request on the basis that it does not specify the documents
 14 sought with particularity. Dr. Zada further objects to this request as it seeks the
 15 disclosure of information protected from discovery by the attorney-client privilege
 16 and the attorney work product doctrine. Dr. Zada further objects to this request on
 17 the grounds that it seeks information not relevant to the subject matter of the action,
 18 and not reasonably calculated to lead to the discovery of admissible evidence. Dr.
 19 Zada further objects to this request to the extent it violates Dr. Zada's privacy rights.
 20         Subject to the above specific objections and Perfect 10’s general objections,
 21 Dr. Zada responds as follows:
 22         Perfect 10 has already produced its tax returns going back to 1996, as well as
 23 detailed financial reports, quick books statements, and bank statements. Those
 24 reports identify any minimal, temporary debts that Perfect 10 may have had, such as
 25 legal bills, etc. They, along with Perfect 10’s bank statements, show that such bills
 26 were promptly paid, so that, with the exception of a large debt to Dr. Zada, Perfect
 27 10 had no other meaningful debts prior to the $5.63 million fee award which was
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     8
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 entered around March 24, 2015. Following entry of a suitable protective order, to
  2 the extent that there are any similar documents, i.e., more recent Perfect 10 tax
  3 returns, bank statements, etc., that have not already been produced, they will be
  4 produced. With respect to its debt to Dr. Zada, Perfect 10 will produce any
  5 responsive non-privileged documents that it can locate upon a reasonable search,
  6 that have not already been produced.
  7         Dr. Zada objects to this request as it relates to his debts, because it is
  8 unlimited as to time. He does not recall having any meaningful debts other than an
  9 occasional mortgage. Plaintiffs have alleged that Dr. Zada and Perfect 10’s offer of
 10 $5.819 million ($2 million in cash plus a $3.819 million first trust deed on Dr.
 11 Zada’s home) to end further motion practice days after the award was entered, was
 12 fraudulent because Dr. Zada actually had that amount in cash. To refute those
 13 claims, Dr. Zada will be producing his 2014, 2015, and 2016 tax returns, along with
 14 bank and brokerage statements, which show that he had slightly over $4.1 million
 15 in cash and cash equivalents around the time when the $5.63 million fee award was
 16 entered. In other words, he didn't have that amount in cash. He has already
 17 produced the first page of his 2007, 2008, 2009, 2010, 2011, 2012 and 2013 tax
 18 returns, which show that he had very little interest or dividend income over that
 19 period, along with a tax loss carry-forward of -$8.581 million.
 20         Dr. Zada does not believe that the details of the home loan he took out in late
 21 April of 2015 are relevant. Nevertheless, to minimize motion practice, he will
 22 produce non-privileged documents that he can locate upon a reasonable search
 23 relating to that loan. He will also produce the following credit card statements: the
 24 main card he uses, Amex, from January 2014 to January 2017, the last date when a
 25 credit card payment was made from the Perfect 10 bank account, and any other
 26 credit card statements that correspond to payments made from the Perfect 10 bank
 27 account from January 2014 onwards.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION      9
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  1         Giganews’s Position
  2         Perfect 10 and Zada have refused to produce responsive documents related to
  3 their debts and liabilities that are squarely at issue, and which Giganews is entitled
  4 to discover.
  5         Zada has admitted to intermingling his funds with Perfect 10’s, using his own
  6 personal funds and accounts to pay Perfect 10 expenses. See Dkt. 26-8 at 16–19.
  7 The requested documents are therefore essential in several respects. A full
  8 accounting of Perfect 10’s and Zada’s liabilities is necessary to unwind their
  9 separate finances and identify the transfers between them. Additionally, Perfect
 10 10’s ability to pay its reasonably foreseeable debts is an essential element of the
 11 constructive fraudulent transfer claim. This requires a full accounting of the
 12 expenses of the business. But Zada intermingled his funds with Perfect 10’s and
 13 used his personal accounts to pay Perfect 10’s debts and liabilities. Production of
 14 only Perfect 10’s records will necessarily omit the full scope of its liabilities and
 15 disguise its insolvency.
 16         For these reasons, Perfect 10 and Zada must produce to the full scope of the
 17 request and not withhold documents related to their liabilities. Perfect 10 has
 18 offered to update its production of bank statements and summary financial records.
 19 It has not made that production despite months to do so. Regardless, Plaintiffs are
 20 entitled to review the underlying records of Perfect 10’s liabilities and do not have
 21 to accept Perfect 10’s summaries in its unaudited financials. (Perfect 10’s
 22 summaries are in fact likely to be inaccurate. After Zada’s fraudulent transfers,
 23 Perfect 10 could no longer employ Ms. Poblete, its paralegal and bookkeeper.
 24 Perfect 10’s production of Quickbooks records for 2016 reflects that Ms. Poblete
 25 stopped updating those files regularly.) Mr. Zada has offered to produce only a
 26 selection of his tax returns and credit card statements, neither of which reflect the
 27 full extent of his liabilities including those he took on for the benefit of Perfect 10.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     10
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Zada claims that his settlement offer of $2 million plus additional contingent
  2 rights proves that he did not take Perfect 10’s cash to hinder creditors.5 As part of
  3 his explanation for why this partial payment proves his good faith, he has
  4 represented to the Court that he lacked the ability to pay the full amount of the
  5 judgment. See Dkt. 19 at 6; Dkt. 37 at 1. Plaintiffs are entitled to discovery to test
  6 the truth or falsity of this claim, and to show that Zada actually had sufficient cash
  7 and assets to pay the judgment in full. Again, Zada proposes to pick and choose
  8 some financial records to show a partial picture that favors him. He has made no
  9 representation to the Court that these records disclose all of his cash and assets. 6
 10         Mr. Zada has objected to producing additional records because the request is
 11 not limited by time and on privacy grounds. Plaintiffs agree to limit the request to
 12 debts and liabilities existing as of January 1, 2011 or accruing thereafter. The right
 13 to privacy, however, is not an “absolute bar to discovery” and “may be subject to
 14 invasion.” Evans v. DSW Inc., No. CV 16-3791-JGB (SPx), 2017 WL 9480800, at
 15 *5 (C.D. Cal. Aug. 24, 2017) (quoting E.E.O.C v. Cal. Psych. Transitions, 258
 16 F.R.D. 391, 395 (E.D. Cal. 2009).7 Specifically, the law does not allow a bad actor
 17 to shield his malfeasance by claiming a “privacy right” in financial records. Where
 18 the party invoking the objection is accused of fraudulent transfers, and the
 19 information is directly relevant to those transfers, it is discoverable. Tatung Co. v.
 20 Hsu, No. SA CV 13-1734-DOC (ANx), 2015 WL 11116906, at *3 (C.D. Cal. Feb.
 21 11, 2015) (denying motion to amend special master decision compelling
 22 defendants’ bank records in a fraudulent transfer action); Ashmore v. Dodds, No.
 23
      It does not: by transferring Perfect 10’s cash and assets to himself, Zada could
      5
 24 offer to pay less than the full judgment and impose additional settlement conditions.
    If it were not for Zada’s fraud, Plaintiffs could have simply enforced the judgment.
 25
    6
      Zada has also just recently offered an entirely new theory for why he made the
 26 transfers: he could earn a higher rate of return by moving the money into his
    personal accounts. Discovery into those accounts is necessary to test this assertion.
 27 7 In a diversity jurisdiction case such as this one, state law governs matters of
    privilege. See Oakes v. Halvorsen Marine, Ltd., 179 F.R.D. 281, 284 (C.D. Cal.
 28 1998); Fed. R. Evid. 501.
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    11
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  1 8:15-cv-00561-JMC, 2015 WL 6445985, at *4 (D.S.C. Oct. 23, 2015) (overruling
  2 privacy objection in fraudulent transfer case where information was necessary to
  3 “determine whether Defendant [was] in possession of monies or proceeds traceable
  4 to [a Ponzi scheme, or] evidence regarding Defendant’s earnings and/or assets
  5 during the period of time at issue”).
  6         Here, Zada directed large transfers to himself so that Perfect 10 could avoid
  7 paying the millions of dollars it owes. This is therefore a case where “the gravamen
  8 of the lawsuit is inconsistent with the application of [any privacy] privilege because
  9 the documents sought may verify or contradict [Defendants’] claims.” Barrous v.
 10 BP P.L.C., No. C 10-2944 LHK PSG, 2011 WL 1431826, at *4 (N.D. Cal. Apr. 14,
 11 2011) (granting motion to compel “tax, financial and accounting records, and
 12 income, disbursement, expenses, revenues and sales statements”); Cory v. George
 13 Carden Int’l Circus, Inc., No. 4-13-CV-760, 2015 WL 11072152, at *1–2 (E.D.
 14 Tex. Dec. 18, 2015) (requests seeking “credit card and checking account
 15 statements” were relevant and discoverable). 8
 16         Perfect 10 and Zada’s offer to provide summaries and selections of their
 17 records is insufficient for the additional reason that Zada has a decade-long record
 18 of litigation misconduct, including multiple violations of this Court’s orders in the
 19 original copyright case. See Related Case, Dkts. 676, 684. For example, the Court
 20 in that case found that Perfect 10 failed to comply with numerous discovery orders,
 21 responded to discovery with outright false testimony and doctored declarations,
 22 conducted insufficient searches, deleted email accounts, discarded laptops before
 23 searching them, refused to produce documents, and made large, yet still incomplete
 24
 25  The cases are clear that any true privacy concern can be addressed via a protective
      8
    order. E.E.O.C. v. Braun Elec. Co., No. 1:12-cv-1592-LJO-JLT, 2014 WL 356998,
 26 at *5–6 (E.D. Cal. Jan. 24, 2014) (holding that right to privacy did not preclude
    disclosure of financial information); see also Oakes, 179 F.R.D. at 284; Hill, 7 Cal.
 27 4th at 38 (1994) (privacy concerns “are assuaged if . . . confidential information is
    carefully shielded from disclosure except to those who have a legitimate need to
 28 know”).
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   12
      TO COMPEL PRODUCTION OF DOCUMENTS AND               CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 productions—of documents they claimed not to have at depositions—far too late
  2 for Giganews and Livewire to use them at deposition or to move to compel. See
  3 generally, Related Case, Dkt. 676. In this case, Giganews and Livewire accuse
  4 Zada of financial fraud. Given his history of abuses, the Court should not force
  5 Giganews and Livewire to accept Zada’s self-serving characterizations of the debts
  6 and finances he chooses to divulge in place of actual and complete financial
  7 records.
  8         Ultimately, “[P]laintiff’s need for defendant [Zada’s] financial documents
  9 outweighs [his] claim of privacy, especially when the ‘impact’ of the disclosure of
 10 the information can be protected by a ‘carefully drafted’ protective order. A.
 11 Farber & Partners v. Garber, 234 F.R.D. 186, 191 (C.D. Cal. 2006). The records
 12 are in Zada’s exclusive control. The Court should compel discovery to reach the
 13 truth of these transfers.
 14         Perfect 10’s Position
 15         Plaintiffs’ motion to compel is both premature and overreaching, as well as
 16 intentionally inflammatory, as it contains a number of demonstrably false
 17 statements included solely to smear Dr. Zada.
 18         First, the Request for Production that Plaintiffs seek to compel – No. 6
 19 simply asks for “All documents identifying liabilities” of Perfect 10 and Mr. Zada.
 20 A review of Defendants amended response to RFP 6 shows that Defendants have
 21 already answered that request. Specifically, the amended response states,
 22 “Perfect 10 has already produced its tax returns going back to 1996, as well as
 23 detailed financial reports, quick books statements, and bank statements. Those
 24 reports identify any minimal, temporary debts that Perfect 10 may have had, such as
 25 legal bills, etc. They, along with Perfect 10’s bank statements, show that such bills
 26 were promptly paid, so that, with the exception of a large debt to Dr. Zada, Perfect
 27 10 had no other meaningful debts prior to the $5.63 million fee award which was
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   13
      TO COMPEL PRODUCTION OF DOCUMENTS AND               CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 entered around March 24, 2015. Dr. Zada states that does not recall having any
  2 meaningful debts other than an occasional mortgage. So that’s it. And Dr. Zada
  3 also stated that he will be providing documents regarding his current $3.5 million
  4 loan on his home. Because RFP No. 6 only asks for liabilities, not assets, all of
  5 Plaintiffs’ Motion asking for documents regarding Defendants’ assets must, as a
  6 matter of course, be denied.
  7         Moreover, even if it were the case that RFP No. 6 asked for assets as well as
  8 liabilities, there are good reasons to deny such requests based upon the conduct of
  9 Plaintiffs’ Chief Executive Officer. Ron Yokubaitis, the CEO of Giganews, has a
 10 video on his Facebook page where he discusses Perfect 10’s confidential
 11 settlements, and smears Dr. Zada in the process. He made those comments at a
 12 public i2coalition event with Senator Goodlatt present. Those settlement
 13 agreements were produced as Highly Confidential – Attorneys Eyes Only and are
 14 extraordinarily sensitive. (Zada Decl. ¶11.) Mr. Yokubaitis has no business
 15 broadcasting Perfect 10’s highly confidential settlement agreements to the world.
 16 On that basis alone, Defendants should not be ordered to produce confidential
 17 documents other than those that are absolutely essential to the case, which they
 18 already have or will have on July 2.
 19         Despite having already received everything they could possibly need,
 20 Plaintiffs start off by making the outrageous claim that “Perfect 10 and Zada have
 21 refused to produce responsive documents related to their debts and liabilities.”
 22 They never say what those documents are, because there are none. Perfect 10 owes
 23 approximately $52 million to Dr. Zada, based on financials in Plaintiffs possession,
 24 and whatever the court has awarded to Plaintiffs. That’s it. Dr. Zada owes
 25 approximately $3.5 on his home. Plaintiffs already know that too. There is nothing
 26 else to produce.
 27         Next, Plaintiffs next make the completely unsupported claim that they are
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   14
      TO COMPEL PRODUCTION OF DOCUMENTS AND              CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 entitled to know “the full extent” of the liabilities Dr. Zada “took on for the benefit
  2 of Perfect 10.” Dr. Zada has already answered that question. He didn’t take on any
  3 liabilities for the benefit of Perfect 10. Once again, there is nothing to produce.
  4         Plaintiffs use their motion to compel RFP 6, which they should have never
  5 filed, as Perfect 10 and Dr. Zada have completely answered that RFP, to engage in
  6 a smear job on Dr. Zada. For example, they claim that “Zada has a decade-long
  7 record of litigation misconduct.” They cite to Dkt. 676, which was vacated, and
  8 Dkt. 684, the attorney’s fees order. The term “misconduct” does not appear in Dkt.
  9 684. Prior to the instant case, Perfect 10 won its previous case against search
 10 engine Yandex in 2013, in Northern California on summary judgment. Prior to this
 11 case, neither Perfect 10 nor Dr. Zada had ever been sanctioned or ordered to pay
 12 attorney’s fees. In other words, Plaintiffs are just making things up.
 13         Next, in footnote 6, Plaintiffs falsely contend that Dr. Zada transferred all of
 14 Perfect 10’s cash and assets to himself. In fact, Dr. Zada left all of Perfect 10’s
 15 primary assets, its copyrights and trademarks, which cost $53 million to create,
 16 with Perfect 10. (Zada Decl. ¶10.) For that reason alone, it would have made no
 17 sense for Dr. Zada to not pay Plaintiffs $850,000, and there by lose $53 million in
 18 copyrights and trademarks.
 19         Plaintiffs continue by falsely claiming that the Court found that Perfect 10
 20 provided “false testimony and doctored declarations…” citing to the vacated Dkt.
 21 676. As incorrect as that interim finding was, because Plaintiffs wrote it and
 22 Magistrate Judge Hillman just signed it verbatim, even that document does not
 23 support Plaintiffs ‘fantastical claims here. Plaintiffs copied and sold Perfect 10’s
 24 content without permission. Perfect 10 didn’t need to “doctor declarations” to win
 25 the Related Case.
 26         Plaintiffs make numerous other untruthful statements designed solely to
 27 smear Dr. Zada. Defendants will not waste any more of the Court’s time dealing
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    15
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 with them, except to say that they are all patently false.
  2         To recap, because Plaintiff’s motion deals solely with RFP 6, and it has been
  3 completely answered, Plaintiffs motion should be denied. However, if the Court
  4 wishes to entertain Plaintiff’s proposed order, which goes way beyond RFP 6, a
  5 number of points need to be made.
  6         First, Defendants have already agreed to produce whatever they have not
  7 already produced with respect to item 1, parts (a), (c), (d), (e), and (f) in the
  8 proposed order, as well as (g) with respect to Perfect 10, and there was no need
  9 whatsoever for Plaintiffs to burden this Court unnecessarily to obtain an order that
 10 was already agreed to. (Zada Decl. ¶2.) However, quite a few of the requested
 11 materials in the proposed order don’t exist, and Plaintiffs should know that. For
 12 example, no Bank of America statements exist for January 2011 to March 2012,
 13 because the account was opened in October 2012. (Zada Decl. ¶7.) Plaintiffs know
 14 that because those statements were produced in 2016 in response to debtor
 15 examination discovery and they could see when that account was opened.
 16 Similarly, no Wells Fargo statements exist after November 2012, because the
 17 account was essentially closed around the end of October 2012 and moved to Bank
 18 of America. (Zada Decl. ¶7.) Plaintiffs should know that as well, as they have
 19 previously received Wells Fargo statements which show that the account was
 20 closed near the end of October 2012. Plaintiffs also ask the Court to order
 21 documents that have already been produced. For example, they ask the Court to
 22 order production of Wells Fargo statements for June through September 2012.
 23 Those were produced as P-FIN006394-P-FIN006498. They ask the Court to order
 24 production of April 2012 Wells Fargo statements. Those were already produced as
 25 P-FIN006370-P-FIN006392. (Zada Decl. ¶8.) Finally, Plaintiffs know that all
 26 Perfect 10 financial statements have been produced and that statements were not
 27 done monthly but rather quarterly, so what they are asking for in proposed order (f)
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     16
      TO COMPEL PRODUCTION OF DOCUMENTS AND                 CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 does not exist. (Zada Decl. ¶8.)
  2         With respect to proposed order b), g) for Dr. Zada, and h), none of these
  3 requests are covered by RFP6, so they are improper. But, going further, why do
  4 Plaintiffs need all of this private information regarding Dr. Zada? With this
  5 information, Plaintiffs will be able to see every payment made by Dr. Zada going
  6 back to 2011, before this case even started, and Mr. Yokubaitis will be able to put
  7 another video on his Facebook page mentioning all of this confidential information
  8 and smearing Dr. Zada in the process. Dr. Zada has already agreed to produce his
  9 2014, 2015, and 2016 tax returns, to demonstrate that he currently does not have
 10 outstanding debts. (Zada Decl. ¶2.) Any interest payments to creditors would
 11 appear there. Dr. Zada has also agreed to produce his credit card statements from
 12 January 2014 through January 2017, the last date when a credit card payment was
 13 made from the Perfect 10 bank account, so Plaintiffs can see what all the payments
 14 were for. Finally, Perfect 10 has produced most of its cancelled checks but will
 15 supplement that production to make it current, so Plaintiffs can see what all of the
 16 payments were for. That should be enough for Plaintiffs to examine every
 17 conceivable transfer and payment from the Perfect 10 account during the pendency
 18 of this case. That is all they need.
 19         Plaintiffs are simply not entitled to the most sensitive documents they seek –
 20 Mr. Zada’s personal financial records, bank statements, and brokerage statements.
 21 The alleged fraud involved transfers from the Perfect 10 bank account to Dr. Zada’s
 22 bank account. Perfect 10’s bank records and detailed financial statements show all
 23 that. What Dr. Zada had in his various accounts is irrelevant. Particularly
 24 irrelevant is what Dr. Zada had in his personal accounts after the alleged transfers
 25 occurred, which ended in November 2014. These are completely immaterial to any
 26 of the issues in this lawsuit, and Plaintiffs have articulated no basis showing
 27 otherwise. Tatung Co. v. Hsu, No. SA CV 13-1734-DOC (ANx), 2015 WL
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   17
      TO COMPEL PRODUCTION OF DOCUMENTS AND               CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 11116906, at *3 (C.D. Cal. Feb. 11, 2015) is inapposite, since that case concerned
  2 discovery into a fraud scheme in which the source of funds directed to various
  3 entities was crucial to determining liability; there is no such need for information
  4 here, because Dr. Zada’s current financial status is absolutely irrelevant to whether
  5 or not he was the recipient of fraudulently-transferred funds from Perfect 10.
  6 Similarly not on point is Barrous v. BP P.L.C., No. C 10-2944 LHK PSG, 2011 WL
  7 1431826, at *4 (N.D. Cal. Apr. 14, 2011), because in that case the party resisting
  8 discovery had put into issue all of their financial affairs by claiming the defendants’
  9 conduct had injured their profits and livelihood. 9 Ashmore v. Dodds, No. 8:15-cv-
 10 00561-JMC, 2015 WL 6445985, at *4 (D.S.C. Oct. 23, 2015) concerned discovery
 11 to determine the recipients of monies from a Ponzi scheme – again, not relevant,
 12 since here the defendant, Dr. Zada, is already known.
 13         Simply put, Dr. Zada’s current financial records have absolutely no
 14 connection or relevance to Plaintiffs’ fraudulent transfer claims. They are therefore
 15 shielded from production on privacy grounds.
 16         Plaintiffs’ contention that “It [Perfect 10] has not made that production
 17 despite months to do so,” is pure pedantry. Plaintiffs second set of requests,
 18 which actually ask for asset information, were made on May 21. Defendants have
 19 agreed to produce documents with respect to these requests very rapidly (by July 2),
 20 long before a hearing on this Motion will be heard. Plaintiffs’ complaint about a
 21 months-long delay is riddled with chutzpah – Plaintiffs themselves have produced
 22 nothing at all since they were served with document requests and requests for
 23 admissions in March, and have relied upon the entry of a protective order which
 24
     Plaintiffs assert that a protective order can take care of all of Dr. Zada’s privacy
      9

 25 concerns (see footnote 7.) First of all, no such order has been entered as of the date
    of this stipulation, because Plaintiffs have insisted on several revisions of any such
 26 Order (see Mickelson Decl. ¶ 3_, Exh. “2.”) More importantly, Mr. Yokubaitis
    apparently has no respect for protective orders, as he is broadcasting information
 27 regarding Perfect 10’s ultra sensitive confidential settlements on his Facebook page.
    Zada Decl. ¶11. There is simply no need for Dr. Zada to turn over private
 28 documents when they have absolutely no relevance to this case.
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   18
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  1 they dragged their feet in drafting. (See Declaration of Matthew C. Mickelson
  2 Decl. ¶ 3, Exh. “2.”)
  3         Plaintiffs’ discussion regarding Dr. Zada’s contention that he did not have the
  4 cash to pay the $5.819 is simply not properly related to RFP 6. However, in an
  5 effort to avoid motion practice on this issue (an effort spurned by Plaintiffs), Dr.
  6 Zada offered to provide, and will provide by July 2, documents sufficient to prove
  7 that he did not have sufficient cash to pay off the entire judgment when he made the
  8 last offer to settle the related case in early April 2014. (Zada Decl. ¶4; see
  9 Mickelson Decl. Exh. “1.”) 10
 10         To summarize, Defendants have already answered RFP6, so Plaintiffs motion
 11 to compel should be denied. Perfect 10 owes Dr. Zada around $52 million, and
 12 owes Plaintiffs whatever the Court awarded. Dr. Zada owes $3.5 million on his
 13 home. There is nothing more to add. The Court should not grant the proposed
 14 order because it goes way beyond RFP6. However, if it contemplates doing so,
 15 Defendants have already agreed to provide responsive documents to every request,
 16 except requests dealing with Dr. Zada’s personal assets which are irrelevant as to
 17 whether fraudulent transfers took place, and are protected by privacy concerns.
 18 III.    PLAINTIFFS’ MOTION FOR PROTECTIVE ORDER
 19         A.     The Court should not allow Defendants to Harass an Apex Officer
 20                with No Knowledge Relevant to the Claims in This Action.
 21
 22
 23
      10
         Furthermore, whether or not Dr. Zada had sufficient cash to pay off the judgment
      in full is completely irrelevant. The only possible relevance of the requested
 24   financial documents is to show he had the cash to make the offer that was, in fact,
 25   actually made – and the documents indeed show that is the truth. Dr. Zada made an
      offer of full payment of the judgment ($2 million in cash plus a first trust deed on
 26   his home), and Plaintiffs turned the offer down without making a counter-offer.
 27   People who offer to pay millions more than they are required to do (the award was
      against Perfect 10, not Dr. Zada), are simply not fraudsters as Plaintiffs claim.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    19
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  1         Giganews and Livewire’s Position
  2         Perfect 10 and Mr. Zada have failed to identify any grounds to allow them to
  3 depose Giganews’s CEO, Ron Yokubaitis, and the Court should issue a protective
  4 order preventing the deposition.
  5         “Virtually every court that has addressed deposition notices directed at an
  6 official at the highest level or ‘apex’ of corporate management has observed that
  7 such discovery creates a tremendous potential for abuse or harassment.” Affinity
  8 Labs of Tex. v. Apple, Inc., No. C 09-4436, 2011 WL 1753982, at *15 (N.D. Cal.
  9 May 9, 2011) (quoting Celerity, Inc. v. Ultra Clean Holding, Inc., No. C05–04374
 10 MMC (JL), 2007 WL 205067, at *3 (N.D. Cal., Jan. 25, 2007)); see also K.C.R. v.
 11 Cnty. of L.A., No. CV 13-3806 PSG (SSx), 2014 WL 3434257, at *7 (C.D. Cal. Jul.
 12 11, 2014). A court should issue a protective order barring the deposition of a
 13 party’s “apex” officers unless the party seeking the deposition demonstrates that:
 14         (1) The officer or director has “unique personal knowledge” relevant to the
 15         case; and
 16         (2) There are no other less intrusive means of discovery available, including
 17         written discovery and depositions of other employees.
 18 See, e.g., In re TFT-LCD (Flat Panel) Antitrust Litig., No. M 07-1827 SI, MLD
 19 No. 1827, 2011 U.S. Dist. LEXIS 85608, at *18 (N.D. Cal. Aug. 1, 2011); Affinity
 20 Labs, 2011 WL 1753982, at *15; Baine v. Gen. Motors Corp., 141 F.R.D. 332, 334-
 21 36 (M.D. Ala. 1991) (denying depositions of VP).
 22         Here, Perfect 10 and Mr. Zada bear the burden to show that a deposition of
 23 Giganews’s CEO is necessary and cannot meet it.
 24         First, Defendants failed to identify any relevant facts uniquely in Mr.
 25 Yokubaitis’s possession. The key issues in this case concern Zada’s removal of
 26 cash and assets from Perfect 10: whether Zada did so with the intent to hinder,
 27 delay or defraud; whether he left Perfect 10 unable to pay its reasonably foreseeable
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   20
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  1 debts; and whether he provided any reasonably equivalent value for the cash and
  2 property he received. Mr. Yokubaitis has no direct knowledge of these facts.
  3         When pressed on this point, Defendants’ counsel could not identify any
  4 relevant facts or subjects for the deposition. Instead, he made the claim that Mr.
  5 Yokubaitis “has made various central decisions” in the litigation. A 7-hour
  6 deposition that asks the CEO what he has discussed with the company’s attorneys
  7 in privileged conversations is an exercise in harassment, and is precisely what the
  8 “apex” deposition rule seeks to prevent. The Court can and should issue a
  9 protective order for this reason. See Affinity Labs, 2011 WL 1753982, at *16
 10 (“[h]ere, Affinity cannot meet its burden to show that Mr. Jobs has ‘unique’ and
 11 ‘non-repetitive’ knowledge regarding any relevant topic”); In re TFT-LCD, 2011
 12 U.S. Dist. LEXIS 85608, at *18.
 13         Second, Defendants cannot make the required showing that they have
 14 engaged in less burdensome methods of discovery. Defendants have taken no
 15 depositions in the case. In fact, they have noticed no other depositions at all.
 16 Accordingly, they cannot show that the information they seek from Giganews’s
 17 CEO is unavailable through other means, for example through a 30(b)(6) deposition
 18 of Giganews.
 19         Defendants point only to the fact that Giganews has made legitimate
 20 objections to harassing and irrelevant discovery requests. (Gregorian Decl. Ex. B.)
 21 Giganews responded in detail to interrogatories that bore on the facts of the case.
 22 (Id. Ex. C.) The remaining requests cover wholly irrelevant topics such as child
 23 pornography, requests for Giganews to conduct legal research, European criminal
 24 investigations, copyright litigation not involving any of the parties to this case, and
 25 movies, television shows, and music to which Perfect 10 never claimed any
 26 ownership rights, to name just a few objectionable categories. (See generally, id.
 27 Ex. D.) Defendants have not sought to compel further responses to these requests,
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    21
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  1 despite months to do so. More importantly, a deposition in which Mr. Zada’s
  2 counsel asks the Giganews CEO offensive and irrelevant questions on these topics
  3 is not one the Court should countenance.
  4         Perfect 10 and Zada failed to identify any relevant, unique knowledge of Mr.
  5 Yokubaitis that they could not discover despite attempting other means. The Court
  6 should issue the protective order against the deposition.
  7         Defendants’ Position
  8         The key to Plaintiff’s case, is alleged in paragraphs 38 and 40 of their FAC,
  9 namely, that Dr. Zada realized early on that Perfect 10 would lose the Related Case
 10 and be hit with a large judgment. In fact, such an assertion defies logic and
 11 common sense. Litigation is expensive, unpleasant, and a waste of time and
 12 energy. No copyright plaintiff continues to litigate a case it expects to lose.
 13         So far, Plaintiffs have not produced a single document, or answered a single
 14 RFA. They have been asked to identify all cases where a Usenet Operator
 15 previously won (there are none), all cases where Perfect 10 was ordered to pay the
 16 other sides attorney’s fees (there are none), all cases where a copyright plaintiff was
 17 ordered to pay fees that exceeded 1/10 of their yearly sales (there are none), all
 18 cases where a party who copied and sold other people’s content without permission
 19 was awarded fees (there are none) and other similarly important interrogatories.
 20 They have refused to answer all of them. The only person left to answer those
 21 questions is Mr. Yokubaitis, who is responsible for filing the present lawsuit, and
 22 needs to explain the basis for it. Furthermore, a deposition of Mr. Yokubaitis is
 23 absolutely essential to justify Giganews’s RFA responses, which in the past were
 24 completely unintelligible and non-responsive. Giganews is not an Apple or a
 25 General Motors. It is not a public company and has a relatively small number of
 26 employees. Perfect 10 has deposed Mr. Yokubaitis before. He is not an ‘apex’
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    22
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  1 deponent in any sense of the word.11
  2         Perfect 10 should not be required to state at this point, any of its proposed
  3 questions, to give an advantage to Plaintiffs. However, one of the key questions to
  4 Mr. Yokubaitis, will be why he believes that parties who file copyright
  5 infringement lawsuits should expect to lose and be bankrupted, and why he believes
  6 that his company is justified in not paying copyright holders for the use of their
  7 works. Defendants would also like to ask why his companies policy of selling
  8 access to copyrighted works for which he has no licenses, is any different from the
  9 policy of Usenet Operators who have recently been arrested. Defendants are only
 10 seeking to depose one person on their side, and that person is Mr. Yokubaitis. He
 11 runs Giganews, is responsible for not accepting Defendants offer of full payment,
 12 and is responsible for all key decisions made in this case. He cannot be sheltered
 13 from asking questions about the lawsuit he himself launched.
 14         B.     Perfect 10’s 410 Requests for Admissions are Harassing,
 15                Irrelevant and Disproportionate to the Needs of the Case.
 16         Giganews and Livewire’s Position
 17         This is not a complicated case. It involves three claims with similar
 18 elements, all based on a circumscribed number of fraudulent transfers made to
 19 hinder creditors. Perfect 10’s 410 requests for admission are unduly burdensome
 20 and excessive. They seek admissions on such irrelevant and inflammatory topics
 21 such as child pornography and criminal copyright liability of nonparties in the
 22 European Union. Giganews and Livewire respectfully ask the Court for an order
 23 limiting Defendants to 78 requests (Nos. 128 to 206), and barring additional
 24
 25        In a previous case, Perfect 10 deposed Susan Wojcicki of Google, who is
            11

    now president of YouTube. Google, a large public company, made the same
 26
    “apex” arguments as Plaintiffs do here, but lost. Mr. Yokubaitis is no Susan
 27 Wojcicki.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     23
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  1 requests.
  2         The Federal Rules do not expressly limit the number of requests for
  3 admission a party may serve, but “[h]undreds of requests . . . almost raise a
  4 presumption of burdensome discovery.” Asarco LLC v. Union Pac. R.R. Co., No.
  5 2:12-cv-00283-EJL-REB, 2016 WL 1755241, at *12 (D. Idaho May 2, 2016); see
  6 also Taylor v. Great Lakes Waste Servs., No. 06-CV-12312-DT, 2007 WL 422036,
  7 at *2 (E.D. Mich. Feb. 2, 2007) (denying motion to compel responses to 297
  8 requests for admission as “oppressive” and unduly burdensome).
  9         This case “is not the type of complex lawsuit that warrants voluminous
 10 discovery of the type [Perfect 10] propound[s].” Stokes v. Interline Brands, Inc.,
 11 No. C-12-05527 JSW (DMR), 2013 WL 6056886 at *2 (N.D. Cal. Nov. 14, 2013)
 12 (limiting propounding party to 25 requests); see also Taylor, 2007 WL 422036, at
 13 *5–6; Jadwin v. Cnty. of Kern, No. 1:07-cv-0026-OWW-TAG, 2008 WL 3820288,
 14 at *2 (E.D. Cal. Aug. 8, 2008) (finding an interrogatory incorporating 290 requests
 15 for admission by reference was “not narrowed or tailored in any way so as to avoid
 16 being oppressive or unduly burdensome”). Giganews and Livewire allege that
 17 between 2014 and the present, Perfect 10 made a series of transfers to Zada for the
 18 purpose of shielding assets from the judgment. See Dkt. 26 ¶¶ 20, 24–25; Cal. Civ.
 19 Code. § 3439.04(a)(1) & (2)(B); Cal. Civ. Code § 3440. The key issues in the case
 20 are whether Zada intended to hinder Perfect 10’s creditors, and whether he should
 21 have reasonably believed the transfers would leave Perfect 10 with insufficient
 22 funds to pay its reasonably foreseeable expenses.12
 23
       See Donell v. Kowell, 533 F.3d 762, 770 (9th Cir. 2008) cert. denied, 555 U.S.
      12
 24 1047 (2008). An actual fraudulent transfer is one made with “‘actual intent to
    hinder, delay or defraud any creditor of the debtor.’ Constructive fraud . . . requires
 25 a showing that the debtor did not receive ‘reasonably equivalent’ value for the
    transfer, and the transfer was made when the debtor . . . ‘[i]ntended to incur, or
 26 believed or reasonably should have believed that [it] would incur, debts beyond [its]
    ability to pay as they became due.’” Damian v. A-Mark Precious Metals, Inc., No.
 27 CV 16-7198 FMO (SSx), 2017 WL 6940515, at *5 (C.D. Cal. Aug. 28, 2017)
    (quoting Optional Capital Inc. v. Das Corp., 222 Cal. App. 4th 1388, 1401-02
 28 (2014).
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   24
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  1         This case does not involve claims like those in the original copyright case
  2 between the same parties. The original case sought a potential $9 billion in
  3 statutory damages based on tens of thousands of discrete alleged copyright
  4 violations. See, e.g., Related Case, Dkt. 1. In “an uncomplicated case such as this
  5 one,” Perfect 10 does not need over 400 requests for admission to defend itself. See
  6 Taylor, 2007 WL 422036, at *2. The Court should find “that [responding] would
  7 be unduly burdensome in light of the unfocused and largely irrelevant nature of
  8 [Perfect 10’s] requests” and issue a protective order. Johnson v. Runnels, No. CIV
  9 S-04-0776 LKK EFB P, 2008 WL 5046064, at *2 (E.D. Cal. Nov. 21, 2008).
 10         Perfect 10’s Position
 11         Once again, Plaintiffs attempt to inflame and mislead. There has never been
 12 a copyright case with damages anywhere close to $9 billion. Plaintiffs know full
 13 well that Defendants would have settled the related case for several million dollars.
 14 In the related case, Giganews asked 362 RFAs, and Perfect 10 answered every one
 15 of them. (Zada Decl. ¶13.) Second, the central issue in this case is whether Perfect
 16 10 could have reasonably expected to lose early on. If Perfect 10 did not anticipate
 17 a loss prior to the entry of the summary judgment orders, then the $900,000 that
 18 was transferred before the entry of such orders could not have been fraudulent,
 19 since Perfect 10 could not have reasonably anticipated that Giganews would be a
 20 future creditor.
 21         Perfect 10 carefully selected its RFAs to establish, in a streamlined fashion,
 22 why it expected to win. All of the RFAs work together to tell a story. One cannot
 23 tell that story by cutting out most of RFAs. As just a few examples, requests which
 24 ask Giganews to admit that a) no Usenet Operator had previously won, b) Perfect
 25 10 had won a prior case against Usenet Operator GUBA, c) Perfect 10 had never
 26 previously been sanctioned or ordered to pay attorney’s fees, and d) the RIAA
 27 described Plaintiffs as “shady companies” engaged in “blatant copyright
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    25
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  1 infringement,” are all relevant to establishing that Perfect 10 reasonably expected to
  2 win.
  3         C.     The Majority of the Requests are Irrelevant and not in Proportion
  4                to the Needs of the Case.
  5                1.     Requests Regarding Plaintiffs’ Servers and Business
  6      • No. 1: Admit that paragraph 24 of Perfect 10’s first amended complaint
  7         (“FAC”), Dkt. 105 in Perfect 10, Inc. v. Giganews, Inc. et al., U.S. District
  8         Court for Central District of California, Case No. 2:11-cv07098-AB-JPR
  9         (hereinafter “the Related Case”), alleged that “Giganews sells access to at
 10         least 9,000,000,000,000,000 bytes (9,000 trillion bytes) of stolen movies,
 11         songs, computer software, and images, and other materials to its customers,
 12         virtually every major popular movie, popular song, popular software
 13         program, and image ever created, for anywhere from $4.99 per month up to
 14         $34.99 per month.”
 15      • No. 2: Admit that on 8/27/2014, giganews.com contained the following text:
 16         “we store an estimated 25 petabytes of Usenet messages.” (See Related Case
 17         Dkt. 508-1 Exh. 3, Pg. 4.)
 18      • No. 3: Admit that 25 petabytes is roughly 25,000 terabytes.
 19      • No. 4: Admit that in the Related Case, Giganews failed to provide a single
 20         example of a message stored on its servers that contained a copyrighted work
 21         that Giganews had a license to copy or distribute.
 22      • No. 5: Admit that paragraph 24 of Perfect 10’s FAC in the Related Case also
 23         alleged that “Giganews’ $34.99 ‘diamond’ membership’ also includes a
 24         newsreader which Giganews created called ‘Mimo,’ and a Giganews
 25         ‘VyprVPN’ service which allows users to conceal their infringing activities.”
 26      • No. 6: Admit that on 3/20/2011 giganews.com displayed the following text:
 27         “Without VyprVPN, your online data is insecure and can be inspected by
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    26
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  1         your ISP … With VyprVPN, all of your internet traffic… is fully encrypted
  2         to our VPN servers, and your IP address is hidden.” (See Related Case Dkt.
  3         508-1, Exh. 3, Pg. 7.)
  4      • No. 7: Admit that on 3/20/2011, giganews.com displayed the following text:
  5         “Giganews does not track the specific articles you download.” (See Related
  6         Case Dkt. 508-1, Exh. 3, Pg. 8.)
  7      • No. 8: Admit that paragraph 26 of Perfect 10’s FAC in the Related Case
  8         alleged that “Giganews writes its own server code, builds its own network,
  9         and deploys servers in Europe, North America, and Asia to copy, display,
 10         and distribute its infringing content.”
 11      • No. 9: Admit that on August 27, 2014, giganews.com displayed the
 12         following text: “Unlike most Usenet providers who use third-party software,
 13         Giganews writes 100% of its server software.” (See Related Case Dkt. 508-1
 14         Exh. 3 p. 1.)
 15      • No. 10: Admit that on August 27, 2014, giganews.com displayed the
 16         following text: “Own the servers,” “Write the code,” “Build the network.”
 17      • No. 11: Admit that on August 27, 2014, giganews.com displayed the
 18         following text: “2213 days binary retention.”
 19      • No. 12: Admit that “2213 days binary retention” meant that Giganews stored
 20         messages on its servers that contained binary content such as movies, songs,
 21         and images, for at least 2213 days.
 22      • No. 15: Admit that the following text appeared on galacticgroups.com, a
 23         Livewire website, on February 16, 2007: “Galactic Groups offers access to
 24         over 100,000 newsgroups, including all of your favorite hierarchies . . . .”
 25         (See Related Case Dkt. 508-1 Exh 3. Pg 21.)
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     27
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  1      • No. 16: Admit that listed among those favorite hierarchies, were
  2         alt.binararies.movies, alt.binaries.music, and alt.binaries.images. (See
  3         Related Case Dkt. 508-1, Exh. 3, Pg 21.)
  4      • No. 17: Admit that the newsgroup alt.binaries.movies has contained
  5         messages that contained movies.
  6      • No. 109: Admit that Giganews’s business does not revolve around the sale of
  7         access to copyrighted works that it has created.
  8      • No. 110: Admit that Giganews’s business revolves around the sale of access
  9         to copyrighted works for which it has no licenses to copy or distribute.
 10      • No. 315: Admit that pages 1-2 of Related Case Dkt. 536 states, “Third,
 11         Giganews has no real explanation as to why legitimate companies such as
 12         Netflix and Apple pay copyright holders for their content, but Giganews need
 13         not.”
 14      • No. 316: Admit that Netflix pays for the content that it offers to its
 15         subscribers, but Giganews does not.
 16      • No. 317: Admit that Amazon pays for the content that it offers to its
 17         subscribers, but Giganews does not.
 18      • No. 318: Admit that Hulu pays for the content that it offers to its subscribers,
 19         but Giganews does not.
 20      • No. 319: Admit that the total revenue of GIGANEWS, between 2009 and
 21         2012, exceeded $200,000,000.
 22      • No. 320: Admit that subscribers pay money to Giganews to gain access to
 23         movies, songs, adult images, and other copyrighted works.
 24      • No. 321: Admit that GIGANEWS has no licenses to copy or distribute the
 25         copyrighted works stored on Giganews’s servers.
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    28
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  1      • No. 322: Admit that GIGANEWS does not have any written agreements that
  2         would allow GIGANEWS to make copies of, distribute, or sell access to, any
  3         audio recordings and songs owned by Universal Music Group.
  4      • No. 323: Admit that members of giganews.com are able to obtain copies of
  5         audio recordings and songs owned by Universal Music Group via
  6         giganews.com.
  7      • No. 324: Admit that GIGANEWS has not offered to pay any movie studio
  8         for the right to make copies of that studios movies and provide those copies
  9         to requesting GIGANEWS subscribers.
 10      • No. 325: Admit that GIGANEWS stores movies on its servers without the
 11         consent of the copyright holders of those movies.
 12      • No. 326: Admit that GIGANEWS has not offered to pay any recording
 13         studio for the use of that recording studio’s works.
 14      • No. 327: Admit that GIGANEWS stores audio recordings and songs on its
 15         servers without the consent of the copyright holders of those songs.
 16      • No. 328: Admit that GIGANEWS does not have an agreement with any
 17         movie studios to make copies of any movie stored on GIGANEWS’ servers.
 18      • No. 329: Admit that GIGANEWS does not have an agreement with any
 19         recording studios to make copies of any audio recordings or songs.
 20         Giganews and Livewire’s Position
 21         These requests seek admissions regarding Giganews and Livewire’s servers,
 22 systems, and business activities, all of which are irrelevant and thus not
 23 proportional to the needs of the case. How Giganews and Livewire conduct their
 24 business has no connection to the transfers at issue. Neither do these requests relate
 25 to whether Defendants made the transfers with the intent to “hinder, delay, or
 26 defraud.”
 27         Perfect 10 and Zada intend to suggest either that the Court erred in granting
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    29
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  1 summary judgment against them in the original case, or that Zada personally
  2 believed Giganews and Livewire were copyright infringers, and therefore he could
  3 not have foreseen an eventual judgment against Perfect 10. However, Zada’s
  4 subjective beliefs about the copyright litigation are irrelevant. Actual fraud requires
  5 only that Defendants made a transfer to “hinder, delay, or defraud” a creditor. Cal.
  6 Civ. Code § 3439.04(a)(1). Zada’s beliefs about the strength of his case are
  7 irrelevant to the question of whether, as he admitted at his debtor’s examination, he
  8 tried to delay collection of the judgment.
  9         Constructive fraud has an “objective” standard, meaning that Zada’s
 10 subjective beliefs do not bear on the intent element of the claim at all. See In re
 11 Heller Ehrman LLP, Bankr. No. 08-32514DM, 2013 WL 951706, at *10 (N.D. Cal.
 12 Mar. 11, 2013) (objective test applies to determine whether a debtor made a transfer
 13 when it “‘reasonably should have believed’ that it would incur debts beyond its
 14 ability to pay.”). Perfect 10’s “categories” further demonstrate their requests are
 15 aimed at bolstering Zada’s irrelevant subjective beliefs: “Why Zada believed
 16 Giganews was engaged in criminal copyright infringement, and would therefore
 17 certainly lose” (Gregorian Decl. Ex. D at p. 9); “Why Zada was certain that
 18 Giganews was directly liable for copyright infringement” (Id. at p. 13); “Why
 19 Perfect 10 did not expect to pay Giganews’s attorneys [sic] fees” (Id. at p. 16);
 20 “Other reasons Perfect 10 expected to win” (Id. at p. 27); “Why Dr. Zada believed
 21 that Giganews would be held contributorily liable” (Id. at p. 45) (bold in original).
 22 The Court should issue a protective order as to these requests.
 23         Perfect 10’s Position
 24         Plaintiffs misstate the law as well as their own allegations. Prior to the entry
 25 of the attorney’s fees award, Plaintiffs were not creditors. In order for there to be a
 26 possibility of a fraudulent transfer, Dr. Zada would have had to expect Plaintiffs to
 27 become creditors. That is why his subjective beliefs are critical, not irrelevant as
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    30
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  1 Plaintiffs erroneously claim. In fact, Plaintiffs make clear that Dr. Zada’s
  2 subjective beliefs are critical in their FAC. In paragraph 38 of their FAC, they
  3 allege, “Beginning in early 2014, Perfect 10, through Zada and in conspiracy with
  4 him, began unlawfully transferring Perfect 10’s corporate assets to Zada as it
  5 became reasonably apparent that Perfect 10 would be ultimately be held liable for
  6 Plaintiff’s attorney’s fees and costs in defeating Perfect 10’s unmeritorious suit.”
  7 Paragraph 40 of their FAC alleges, “(3) the transfers happened when it became
  8 reasonably apparent that a large judgment would be entered against Perfect 10 as a
  9 result of its unmeritorious and unsuccessful suit for copyright infringement.”
 10 Defendants have the right to propound RFAs which, if admitted, destroy those key
 11 allegations made in the FAC. The above RFAs do just that.
 12         RFAs 1-4 establish that Giganews offered for sale, 25,000 terabytes of
 13 movies, songs, and other copyrighted works which were stored on its servers, and
 14 failed to provide a single example of a license for any of those works. RFAs 5-7
 15 establish that Giganews offered a VPN service that allowed its subscribers to hide
 16 their downloading activities, and advertised that it would not track its subscriber’s
 17 downloads. This type of assistance in hiding illegal activity has been found in other
 18 cases to constitute contributory infringement by inducement. RFAs 8-10 support
 19 Perfect 10’s belief that Giganews materially contributed to the infringement. RFA
 20 12 established that Giganews’s storage was not “temporary,” a key mistake in both
 21 the District Court and Ninth Circuit’s rulings. RFAs 16-17 help establish that
 22 Giganews was willfully making unlicensed copies of movies and songs for
 23 commercial purposes, and thereby satisfying the basic requirements for criminal
 24 copyright infringement. RFAs 109-110 establish that Giganews was not a
 25 copyright creator, and therefore, based on established precedent, unlikely to be
 26 eligible for any fee award. RFAs 315-319 establish that Giganews cannot explain
 27 why legitimate companies like Netflix, Amazon, and Hulu, pay for the works they
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   31
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  1 offer, but Giganews does not. RFA 319 established that Giganews is making at
  2 least $50,000,000 a year by not paying copyright holders for the use of their works,
  3 a factor which should have been considered in determining the size of any fee
  4 award. In other words, no significant award should have been made because it
  5 didn’t make that much difference to Giganews but destroyed Perfect 10, who had
  6 sales of less than $40,000 a year. RFA 320 establishes the reason why subscribers
  7 pay Giganews. RFAs 321-329 establish that Giganews has no licenses to copy or
  8 distribute the movies or songs on its servers, a key reason why Perfect 10 believed
  9 it would win, as well as a basis for other criminal prosecutions of Usenet Operators
 10 and the Operators of the website megaupload.com, who did essentially the same
 11 thing.
 12                2.     Requests Regarding Child Pornography
 13      • No. 13: Admit that Giganews was investigated by New York State Attorney
 14          General Cuomo in or about 2008 for having child pornographic images on its
 15          servers. (See Related Case Dkt. 508-1 Exh. 3 pp.16-19.)
 16      • No. 14: Admit that Exhibit 20 to Dr. Zada’s expert report in the Related Case
 17          showed messages available from Giganews’s servers in July 2014 with the
 18          following text in the subject field; “Sixteen yo. Lolita.”
 19          Giganews and Livewire’s Position
 20          Perfect 10’s requests bear no connection to Defendants’ fraudulent transfers,
 21 and they are thus irrelevant and disproportionate to the needs of the case. More
 22 importantly, they are an improper and offensive attempt to tar Plaintiffs with a false
 23 association to child pornography. This is a tactic Mr. Zada has previously used
 24 against Perfect 10’s litigation opponents. In the original case, two different former
 25 employees testified that Mr. Zada made them search for child pornography on the
 26 Internet to bolster his attacks on Google, causing the employees personal distress.
 27 (Gregorian Decl. Ex. E at 59:1-62:25 & F at 60:10-61:2.) Mr. Zada maintained a
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     32
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  1 printed file of child pornography that he originally claimed was for use against
  2 “culprits” and later sought to use against Google and its executives. (See id.) The
  3 tactic has no place in this case.
  4         Parties may engage in discovery to seek relevant, non-privileged information
  5 proportional to the needs of the case. Fed. R. Civ. P. 26(b)(1). The Court,
  6 however, may grant a protective order to protect a party from “annoyance,
  7 embarrassment, oppression, or undue burden or expense.” See Stokes, 2013 WL
  8 6056886, at *1 (citing Fed. R. Civ. P. 26(c)(1)). Written discovery requests should
  9 not represent “an effort to harass the other side or in the hope that a party’s
 10 adversary will simply concede essential elements.” Id. at *2. When a party serves
 11 requests, “as in this case, with the wild-eyed hope that the other side will fail to
 12 answer and therefore admit essential elements . . . , the rule’s time-saving function
 13 ceases; the rule instead becomes a weapon, dragging out the litigation and wasting
 14 valuable resources.” Perez v. Miami-Dade Cnty., 297 F.3d 1255, 1268 (11th Cir.
 15 2002); see also Busche v. URS Energy & Constr., Inc., No. CV-13-5016-EFS, 2013
 16 WL 5652154, at *1–2 (E.D. Wash. Oct. 15, 2010) (granting protective order on just
 17 four RFAs served to harass, oppress, and embarrass responding party).
 18         The Court should protect Giganews and Livewire from having to respond to
 19 these requests.
 20         Perfect 10’s Position
 21         Once again, Plaintiffs attempt to smear Dr. Zada with false allegations. First,
 22 Mr. Yokubaitis posted on his own website, a discussion of what happened when his
 23 company was investigated by the New York Attorney General’s office for child
 24 pornography, which is a strict liability offense. Perfect 10 was never able to get a
 25 copy of the consent decree which might have had some language regarding
 26 copyright infringement as well. The simple fact is that such images are still
 27 available as we speak. It is not unreasonable for Dr. Zada to have believed that the
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    33
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  1 Court would not award bankrupting level fees to a party who not only infringes
  2 movies and songs en masse, but also distributes child pornography around the
  3 world for commercial purposes. Plaintiffs could very easily remove such materials
  4 but choose not to.
  5         Plaintiffs attempt to tar Dr. Zada with the fact that he asked two former
  6 employees to verify that Google at one time offered pictures of scantily clad little
  7 girls. The purpose of that was to notify the authorities, which is what Dr. Zada did,
  8 as any law abiding citizen would do. Notifying authorities that a major search
  9 engine is distributing child pornography un masse, is vastly different from being the
 10 party doing the distribution, which is what Giganews is doing as we speak.
 11 Furthermore, Giganews knows that one of those “employees,” Rebekah Chaney,
 12 was a pathological liar who uses phony driver’s licenses and was being sued at that
 13 time for defrauding Dr. Zada (who had been a great friend by funding her award
 14 winning short film and providing the monies to bury her father).
 15                3.     Requests Regarding Copyright Infringement Allegations
 16      • No. 18: Admit that paragraph 34 of Perfect 10’s FAC in the Related Case
 17         states, “Giganews has directly infringed Perfect 10 copyrighted works by
 18         reproduction in at least four different ways. First, Giganews itself (not its
 19         customers) has copied tens of thousands of Perfect 10 Copyrighted Works
 20         including works bearing Perfect 10 copyright notices from various Internet
 21         locations and placed those images on Giganews servers.”
 22      • No. 19: Admit that paragraph 35 of Perfect 10’s FAC in the Related Case
 23         states, “When Giganews goes to various Internet locations and makes copies
 24         of thousands of Perfect 10 images, it is not at the direction of third parties.
 25         Giganews itself elects to make such copies without permission of rights
 26         holders.”
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     34
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  1      • No. 20: Admit that paragraph 36 of Perfect 10’s FAC in the Related Case
  2         states, “Second, when a Giganews customer makes a request for a copy of a
  3         Perfect 10 image from Giganews’ servers, Giganews makes a copy of that
  4         image and sends it over the Internet to that user.”
  5      • No. 21: Admit that paragraph 39 of Perfect 10’s FAC in the Related Case
  6         states, “When users actually upload a Perfect 10 image to Giganews’ servers,
  7         it is not stored at the direction of a third party because Giganews keeps that
  8         material as long as it desires, currently 1677 days, independent of the user’s
  9         wishes.”
 10      • No. 22: Admit that paragraph 44 of Perfect 10’s FAC in the Related Case
 11         states, “When a user requests a Perfect 10 image from Giganews’s servers,
 12         Giganews must make a copy of that image and then send it via the Internet to
 13         the user. In the process Giganews directly infringes Perfect 10’s distribution
 14         right.”
 15      • No. 28: Admit that paragraph 54 of Perfect 10’s FAC in the Related Case
 16         states, “Giganews has knowledge, when it elects to make copies of fake
 17         images of celebrities from ‘newsgroups’ such as alt.binaries.celeb.fake and
 18         alt.binaries.pictures.nude. celebrities.fake, that it is copying and distributing
 19         obviously unauthorized images. Hundreds of images from those groups use a
 20         Perfect 10 image for the purported body of the celebrity and infringe Perfect
 21         10’s copyrights. See Exhibit 7.”
 22      • No. 29: Admit that paragraph 70 of Perfect 10’s FAC in the Related Case
 23         states, “Defendants have copied, reproduced, distributed, adapted, and/or
 24         publicly displayed the Perfect 10 Copyrighted Works without the consent or
 25         authority of Perfect 10, thereby directly infringing Perfect 10’s copyrights.
 26         An example of Giganews’ direct infringement of Perfect 10’s copyrighted
 27         works by display is shown in Exhibit 5.”
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     35
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  1      • No. 31: Admit that Giganews has provided unlicensed copies of Perfect 10
  2         copyrighted images to its subscribers upon request.
  3      • No. 32: Admit that Giganews has displayed unlicensed copies of Perfect 10
  4         copyrighted images to its subscribers upon request.
  5      • No. 33: Admit that GIGANEWS has stored Perfect 10 copyrighted works on
  6         GIGANEWS’s servers without Perfect 10’s permission.
  7      • No. 34: Admit that GIGANEWS has copied messages containing Perfect 10
  8         copyrighted works from other Usenet Operators and stored those messages
  9         on GIGANEWS’s servers.
 10      • No. 35: Admit that GIGANEWS has distributed Perfect 10 images to other
 11         Usenet Operators.
 12      • No. 36: Admit that Exhibit 1 to Dr. Zada’s declaration (See Related Case
 13         Dkt. 506) contained a video which showed how Giganews subscribers could
 14         download full-size Perfect 10 images from Giganews’s servers.
 15      • No. 38: Admit the GIGANEWS has not offered to pay Perfect 10 for the use
 16         of Perfect 10’s copyrighted works.
 17      • No. 39: Admit that Giganews did not pay Perfect 10 for the use of Perfect
 18         10’s works.
 19      • No. 52: Admit that Giganews reproduces copyrighted movies and music
 20         without authorization.
 21      • No. 53: Admit that Giganews distributes copies of copyrighted movies and
 22         music without authorization.
 23      • No. 67: Admit that in his declaration (Related Case Dkt. 506), Dr Zada
 24         included a section on page 13 entitled “Obviously Infringing Movies And
 25         Other Copyrighted Works Offered By Defendants.”
 26      • No. 82: Admit that page 1 of Dkt. 436 in the Related Case states, “First,
 27         Defendants are not innocent providers of Usenet access. Giganews has
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    36
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  1         copied approximately 25,000 trillion bytes of unauthorized copyrighted
  2         works onto its servers, including movies, television episodes, songs, and
  3         thousands of copyrighted images of Plaintiff Perfect 10, Inc. (‘Perfect 10.’).
  4         Both Defendants commercially exploit that content without authorization
  5         from copyright holders. Defendants offer more than 240 times as many full-
  6         length movies as the website megaupload.com, whose operators are facing 25
  7         years in prison for criminal copyright infringement.”
  8      • No. 83: Admit that page 2 of Dkt. 436 in the Related Case states, “First,
  9         Defendants have failed to cite, and cannot cite, to a single case holding that a
 10         defendant that copies and sells access to infringing material is not liable for
 11         direct infringement. On the contrary, the Supreme Court’s decision in New
 12         York Times Co. v. Tasini, 533 U.S. 483 (2001) (‘Tasini’), and multiple cases
 13         involving Usenet operators similar to Giganews, all found defendants liable
 14         for direct copyright infringement.”
 15      • No. 86: Admit that in his declaration (See Related Case Dkt. 506), Dr. Zada
 16         included a section on page 11, entitled, “How Giganews Copies Perfect 10
 17         Images From The Usenet”
 18      • No. 87: Admit that section referred to in RFA No. 86 contains the statement,
 19         “Attached as Exhibit 8 are true and correct copies of documents I created
 20         which illustrate how Giganews copies Perfect 10 images from non-Giganews
 21         Usenet servers onto its own Usenet servers.”
 22      • No. 88: Admit that in his declaration (See Related Case Dkt. 506), Dr. Zada
 23         included a section on page 12 entitled “How Other Usenet Providers Get
 24         Perfect 10 Images From Giganews”
 25      • No. 89: Admit that section referred to in RFA No. 88 contains the statement,
 26         “Attached as Exhibit 9 are true and correct copies of documents I created
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     37
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  1         which provide evidence that Giganews has distributed Perfect 10 images to
  2         other Usenet providers.”
  3      • No. 90: Admit that Dkt. 506, Exhibit 17, page 4 of the Related Case contains
  4         the following text: “Is it illegal to download copyrighted files from binary
  5         newsgroups? … It’s illegal….Of course it’s [sic] illegal.”
  6      • No. 91: Admit that Dkt. 506, Exhibit 17, page 5 of the Related Case, contains
  7         the following text: “Of course easynews, supernews, giganews, etc. all say
  8         that they don’t retain usage logs anyway. This is a huge selling point because
  9         essentially all of their subscribers are pirates.”
 10      • No. 92: Admit that Dkt. 506, Exhibit 17, page 6 of the Related Case, contains
 11         the following text: “Easynews has terabytes of pirated software, movies,
 12         games, TV shows, and porno on their hard drives, available for download at
 13         speeds maxing out your cable modem for $11.95/month. They’re going
 14         down. It’s just a matter of time.”
 15      • No. 93: Admit that Dkt. 506, Exhibit 17, page 10 of the Related Case
 16         contains the following text: “Now Giganews seems to be attacking uploaders,
 17         while maintaining 200 days of retained material, 99.9999% of which is
 18         copyright infringing content. As I said, something is very wrong.”
 19      • No. 94: Admit that Dkt. 506, Exhibit 18, page 1 of the Related Case, contains
 20         the following text: “I wanted to rescind or delete any other possible P10
 21         copyright posts that I many have posted between 5 April 2009 and your first
 22         warning e-mail dated 24 October 2011…. I’m requesting you rescind or
 23         delete all my post to alt.binaries.amp and alt.binaries.images.andmore up to
 24         24 October 2011…. You know as well as I do that 90-95% of messages in
 25         the binary newsgroups violate copyrights. You’re in a tough position having
 26         to respond to copyright complaints while knowing full well that if it wasn’t
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     38
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  1         for all that copyrighted data on your servers, no one would be paying
  2         subscription fees to access it.”
  3      • No. 95: Admit that after receiving the above message referred to in RFA No.
  4         94, Giganews did not remove the Perfect 10 content that subscriber asked
  5         Giganews to remove.
  6      • No. 96: Admit that after receiving the above message referred to in RFA No.
  7         94, Giganews continued to make copies of the same infringing Perfect 10
  8         content and provide it to requesting subscribers.
  9      • No. 97: Admit that Dkt. 506, Exhibit 19, page 1 of the Related Case, contains
 10         the following text: “I tell you the truth. 100% of the newsgroup posts is
 11         copywriter. Your company is making money off copyright. Maybe the
 12         newsgroups want to be completely closed down because they are nothing but
 13         copyriter [sic].”
 14      • No. 112: Admit that Perfect 10’s copyrights had clearly been infringed by
 15         Giganews.
 16      • No. 113: Admit that Perfect 10’s copyrights had clearly been infringed by
 17         Giganews’s subscribers who uploaded those images to Giganews’s servers.
 18      • No. 114: Admit that Perfect 10’s copyrights had clearly been infringed by
 19         Giganews’s subscribers who downloaded copies of Perfect 10 images from
 20         Giganews’s servers.
 21      • No. 127: Admit that page 38 of the Ninth Circuit’s ruling in the appeal of the
 22         judgment in the Related Case [Dkt. Entry 110-1] contains the following text:
 23         “Indeed, this is not a case where a sole shareholder operated a company with
 24         little or no assets, nor is this a case where a company was stripped of its
 25         assets to shield its sole shareholder from adverse judgments.”
 26      • No. 209: Admit that Related Case Dkt. 436 at page 8:12-14 states, “In fact,
 27         Perfect 10 has provided significant evidence that Giganews is the direct
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    39
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  1         cause of infringement on its servers, and therefore is liable for direct
  2         infringement…”
  3      • No. 210: Admit that Related Case Dkt. 436 at page 8:15-17 states, “Perfect
  4         10’s evidence includes the following five situations where Giganews
  5         continues to copy and distribute content that infringes upon Perfect 10’s
  6         copyrighted images:”
  7      • No. 211: Admit that in Related Case Dkt. 436, Perfect 10 describes five
  8         situations where it contended that Giganews was the direct cause of any
  9         further infringement because Giganews refused to remove Perfect 10 images
 10         from its servers even though the uploaders of those images 1) asked that they
 11         be removed, 2) conceded that everything they uploaded was infringing and
 12         cancelled their account, 3) were terminated for repeat infringement, 4)
 13         claimed to have not uploaded the allegedly infringing Perfect 10 content, or
 14         5) died.
 15      • No. 236: Admit that the Ninth Circuit found on page 19 of its opinion
 16         (appeal of Related Case Dkt. Entry 110-1), “Perfect 10 failed to show that the
 17         distribution does not happen automatically.”
 18      • No. 237: Admit that the following text appears on page 20 of the Ninth
 19         Circuit’s ruling (appeal of Related Case Dkt. Entry 110-1), “Second, we are
 20         unpersuaded by Perfect 10’s argument that Livewire engaged in volitional
 21         conduct because it sold access to Giganews servers, including infringing
 22         Perfect 10 images, for a monthly fee. As the district court concluded, “the
 23         undisputed evidence affirmatively shows Livewire sells access to all the
 24         content available on Giganews’ servers. There is no evidence that Livewire
 25         sells any of Perfect 10’s copyrighted material. Id. (emphasis in original).”
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    40
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  1      • No. 241: Admit that the Copyright Act does not suggest that reproducing
  2         copyrighted works without permission is “inactionable” if the reproduction is
  3         performed automatically.
  4      • No. 242: Admit that the Copyright Act does not suggest that distributing
  5         copyrighted works without permission is “inactionable,” if the distribution is
  6         performed automatically.
  7      • No. 243: Admit that Perfect 10’s Opposition to Giganews’s Motion for
  8         Summary Judgment on the issue of direct liability (Related Case Dkt. 436, p.
  9         21:6- 8), stated, “Here as well, the fact that Giganews’s infringing activities
 10         may involve automated processes does not absolve it from liability for direct
 11         infringement.”
 12      • No. 244: Admit that Perfect 10’s Opposition to Giganews’s Motion for
 13         Summary Judgment on the issue of direct liability (Related Case Dkt. 436, p.
 14         18:1-2) has a heading entitled, “Perfect 10’s Evidence Satisfies Any
 15         Requirement of ‘Volitional Conduct.’”
 16      • No. 245: Admit that Perfect 10’s Opposition to Giganews’s Motion for
 17         Summary Judgment on the issue of direct liability (Related Case Dkt. 436
 18         page 18:16-17) stated, “This Court likewise should decline to adopt the
 19         volitional conduct requirement advocated by Defendants.”
 20      • No. 246: Admit that Perfect 10’s Opposition to Giganews’s Motion for
 21         Summary judgment on the issue of direct liability (Related Case Dkt. 436 at
 22         page 19:4-6) stated, “First, Defendants are actively engaged in direct
 23         infringement when they choose to sell access to infringing Perfect 10 images
 24         to their users in exchange for a monthly fee.”
 25      • No. 247: Admit that Perfect 10’s Opposition to Giganews’s Motion for
 26         Summary judgment on the issue of direct liability (Related Case Dkt. 436 at
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    41
      TO COMPEL PRODUCTION OF DOCUMENTS AND                  CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         page 19:7-9) stated, “Second, Giganews’s involvement in the peering process
  2         is volitional, involves human activity, and is not automatic…”
  3      • No. 248: Admit that Perfect 10’s Opposition to Giganews’s Motion for
  4         Summary judgment on the issue of direct liability (Related Case Dkt. 436 at
  5         page 19:16-19) stated, “Third, Giganews is the direct cause of direct
  6         infringement when it refuses to remove infringing Perfect 10 images of
  7         uploaders who have died, cancelled their accounts, been terminated for repeat
  8         infringement, asked that the infringing content be removed; and denied
  9         uploading the infringing content at issue.”
 10      • No. 314: Admit that Judge Birotte, Jr. found in his order, Related Case Dkt.
 11         620 that “To begin with, Perfect 10 does not submit any competent evidence
 12         to suggest that infringement of other forms of media is rampant on
 13         Giganews’ servers.”
 14      • No. 330: Admit that GIGANEWS provides copies of copyrighted works for
 15         which it has no rights, to GIGANEWS’ subscribers.
 16      • No. 331: Admit that GIGANEWS accepts compensation for making
 17         copyrighted works, for which GIGANEWS has no rights, available to users
 18         to view or download.
 19         Giganews and Livewire’s Position
 20         Perfect 10 lost its copyright infringement case; it may not re-litigate the
 21 merits of that case here or collaterally attack the Court’s judgment against it. All of
 22 these requests seek admissions on irrelevant claims and standards and are thus not
 23 in proportion to the needs of this case.
 24         A party may serve a written request to admit, “for the purposes of the
 25 pending action only,” the truth of any matters relating to “facts, the application of
 26 law to fact, or opinions about either” and “the genuineness of any described
 27 documents.” Fed. R. Civ. P. 36(a)(1). Perfect 10 asks Giganews and Livewire
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    42
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 instead to admit facts of the original copyright case. For example, Perfect 10’s first
  2 thirty-nine requests fall under the heading “Admissions related to Perfect 10’s
  3 [First Amended Complaint],” most of which ask Giganews and Livewire to admit
  4 that Perfect 10 made an allegation (that was ultimately disproved). The fact that
  5 Perfect 10 set forth an allegation in its complaint is not evidence relevant to this
  6 case. It does not tend to suggest that the transfers at issue here were or were not
  7 made with fraudulent intent, that Perfect 10 was insolvent, what a reasonable party
  8 could or should have expected for an outcome, or whether Perfect 10’s failure to
  9 pay its judgment caused Giganews and Livewire any harm.
 10         Requiring Giganews and Livewire “to answer these requests for admissions
 11 far outweighs any potential benefit given that they are irrelevant to any claims […]
 12 in this action.” Knapp v. Cate, No. 1:08-cv-01779-AWI-BAM PC, 2012 WL
 13 2912254, at *3 (E.D. Cal. Jul. 16, 2012) (granting motion for protective order).
 14 The Court should enter a protective order as to these requests.
 15         Perfect 10’s Position
 16         As a preliminary matter, RFAs 18-29, 67, 82-83, 86-97, 127, 209-210, 236-
 17 237, 243-248, 314 merely ask that Plaintiffs admit that certain language appeared in
 18 certain documents at certain pages. That type of request is not burdensome at all
 19 and should be answered in the affirmative.
 20         Plaintiffs continue to misstate the law. Defendants are not trying to relitigate
 21 the case, they are simply seeking to establish in an efficient way that they thought
 22 they would win and had a substantial basis for that belief. If Perfect 10 thought it
 23 would win, Plaintiffs would never have been creditors, and so transfers made early
 24 on could not have been made to hinder their collection attempts.
 25                4.     Requests Regarding Perfect 10’s Reason for Filing Suit
 26      • No. 117: Admit that Perfect 10 filed its lawsuit against Giganews, in party to
 27         obtain compensation for the use of its copyrighted works.
 28
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  1      • No. 118: Admit that filing a lawsuit to obtain compensation for the
  2         unauthorized use of one’s works is not an improper reason to file a lawsuit.
  3      • No. 119: Admit that most copyright holders who file lawsuits, do so at least
  4         in part to obtain compensation for the use of their works.
  5      • No. 120: Admit that parties that are robbed do not expect courts to order that
  6         they pay the thieves of their property millions of dollars in attorney’s fees.
  7      • No. 121: Admit that parties whose intellectual property is used without
  8         permission, do not expect courts to order them to pay millions in attorney’s
  9         fees to the misappropriators of their content.
 10      • No. 122: Admit that a ruling that allows parties to reproduce and distribute
 11         copyrighted works without paying the rights holder for the use of their
 12         works, is antithetical to the purposes of the copyright act.
 13      • No. 123: Admit that $5.63 million award against Perfect 10 ended Perfect
 14         10’s ability to create copyrighted works.
 15      • No. 124: Admit that Perfect 10 had been creating copyrighted works from at
 16         least 1996 to 2013.
 17      • No. 125: Admit Perfect 10 provided to PLAINTIFFS a list of more than
 18         3,000 websites that Perfect 10 claimed have used Perfect 10’s content
 19         without permission.
 20      • No. 126: Admit that the primary reason why Perfect 10 began to spend more
 21         and more time on litigation, is because it could not earn enough revenue from
 22         the sale of its copyrighted works to survive.
 23         Giganews and Livewire’s Position
 24         Perfect 10’s reasons for filing its copyright action have no connection to the
 25 transfers from Perfect 10 to Zada to prevent enforcement of the Court’s judgment.
 26 These requests do not relate to whether Defendants made the transfers at issue with
 27 the intent to “hinder, delay, or defraud.” They do not tend to suggest that Zada or
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    44
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  1 Perfect 10 had a reasonable belief that Perfect 10 would not incur a debt Perfect 10
  2 would be unable to pay, as an adverse fee award is a risk in any copyright litigation
  3 and Zada’s subjective beliefs about the likelihood of such an award are irrelevant.
  4         Perfect 10’s Position
  5         Giganews and Livewire do not even adequately describe the above RFAs.
  6 The purpose of the RFAs is in part to establish that the District Court got the award
  7 wrong as well as the copyright issues. In other words, not only did Perfect 10
  8 expect to win the related case, even after the entry of the summary judgment orders,
  9 it did not expect to be ordered to pay any fee award, let alone one that was 5,600
 10 times the size of the award in the Mattel v. MGA case, when compared to the
 11 respective sales of the losing plaintiffs. (Zada Decl. ¶14.)
 12                5.     Requests Regarding Ineffective DMCA Notifications of
 13                       Claimed Infringement
 14      • No. 23: Admit that paragraph 50 of Perfect 10’s FAC in the Related Case
 15         states, “Perfect 10 has also sent to the DMCA agent for Giganews and
 16         Livewire Services, Ronald Yokubaitis, DMCA notices which identified at
 17         least several hundred celebrity fake images consisting of a celebrity’s face
 18         superimposed on the body of a Perfect 10 copyrighted image (which was
 19         typically tasteful). See Exhibit 6 for several such examples of images offered
 20         by Defendants, which consist of the faces of Christina Aguilera, Bridget
 21         Fonda, Halle Berry, Jennifer Lopez, Kate Beckinsale, Katie Holms, and
 22         Natalie Portman, superimposed on portions of images copyrighted by Perfect
 23         10.”
 24      • No. 24: Admit that Perfect 10’s FAC in the Related Case provided examples
 25         of full size images that Perfect 10 claimed were offered by Giganews which
 26         consisted of the faces of celebrities superimposed of the bodies of Perfect 10
 27         models. (See Related Case Dkt. 105, FAC Exhibit 6.)
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   45
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  1      • No. 25: Admit that Perfect 10’s FAC in the Related Case provided an
  2         example of Christina Aguilera’s face superimposed on a copyrighted Perfect
  3         10 image, that Perfect 10 contended was offered by Giganews. (See Related
  4         Case Dkt. 105, FAC Exhibit 6, Pg. 1.)
  5      • No. 26: Admit that Perfect 10’s FAC in the Related Case provided an
  6         example of Halle Berry’s face superimposed on a copyrighted Perfect 10
  7         image, that Perfect 10 contended was offered by Giganews. (See Related
  8         Case Dkt. 105, FAC Exhibit 6, Pg. 3.)
  9      • No. 27: Admit that Perfect 10’s FAC in the Related Case provided an
 10         example of Jennifer Lopez’s face superimposed on the body of a Perfect 10
 11         model that Perfect 10 contended was offered by Giganews. (See Related
 12         Case Dkt. 105, FAC Exhibit 6, Pg. 4.)
 13      • No. 275: Admit that paragraph 28 of the declaration referred to in RFA No.
 14         274 states, “As an example, for the twelve-month period from November 6,
 15         2012, to November 6, 2013, Defendants received approximately 204,470
 16         DMCA takedown notices, which included a total of approximately
 17         690,865,100 Message- IDs.”
 18      • No. 302: Admit that a company who received more than 10 notices regarding
 19         the same copyrighted work, yet continued to offer unlicensed copies of that
 20         work to its subscribers, would normally lose any chance for a DMCA safe
 21         harbor.
 22      • No. 348: Admit that page 17 of Related Case Dkt. 449-3 contains the
 23         heading “OTHER USENET OPERATORS PROCESSED PERFECT 10’S
 24         NOTICES.”
 25      • No. 349: Admit that paragraph 37 of Related Case Dkt. 449-3 states,
 26         “Attached as Exhibit 20 is a true and correct copy of a Perfect 10 DMCA
 27         notice sent to Astraweb, another Usenet Operator, and their hosting
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   46
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  1         company, on April 10, 2012, and their reply, less than a day later. The reply
  2         shows that they were able to find the relevant Message-IDs just from the
  3         seven images attached on page 2 give the file names of those images…”
  4         Giganews and Livewire’s Position
  5         The contents of Perfect 10’s notifications of claimed infringement under the
  6 DMCA have no connection to the transfers from Perfect 10 to Zada to prevent
  7 enforcement of the Court’s judgment. These requests do not relate to whether
  8 Defendants made the transfers at issue with the intent to “hinder, delay, or defraud.”
  9 They do not tend to suggest that Zada or Perfect 10 had a reasonable belief that
 10 Perfect 10 would not incur a debt Perfect 10 would be unable to pay, as an adverse
 11 fee award is a risk in any copyright litigation and Zada’s subjective beliefs about
 12 the likelihood of such an award are irrelevant.
 13         Perfect 10’s Position
 14         Once again, Plaintiffs completely misstate the fundamental issue in the case.
 15 The central issue is not how the court ruled, but how Perfect 10 expected the court
 16 to rule. If Perfect 10 firmly believed it would win, then any transfer from Perfect
 17 10 to Dr. Zada of monies owed, was simply done to pay back some of those monies
 18 and not to defraud anyone as there were no creditors other than Dr. Zada, and none
 19 were expected to ever exist.
 20         RFAs 23-27 establish that Giganews offered what are known as “celebrity
 21 fakes,” which consist of a celebrities face placed without permission on the body of
 22 someone who is often engaged in sexual acts. Such images are widely known as
 23 being infringing on their face, since no celebrity would ever grant permission to be
 24 defamed in that fashion. Giganews’s refusal to block entire newsgroups of clearly
 25 defamatory and infringing materials, was yet another reason why Dr. Zada expected
 26 to win the case easily.
 27         RFAs 275 and 302 are relevant in establishing that Giganews was likely
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   47
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  1 ineligible for any DMCA safe harbor, because it admittedly received 690 million
  2 Message-IDs in a single year, yet continued to offer the same repeatedly identified
  3 infringing movies, TV shows, and songs.
  4         RFAs 348 and 349 are relevant in establishing that other Usenet Operators
  5 processed Perfect 10’s notices (which Giganews refused to process). Given this
  6 undisputed evidence, Dr. Zada did not expect the Court to ignore it and instead find
  7 that there was no issue of triable fact that Perfect 10’s notices were too burdensome
  8 to be DMCA compliant.
  9                6.     Requests Regarding the Mimo Newsreader
 10      • No. 30: Admit that Perfect 10’s FAC in the Related Case provided examples
 11         of how Giganews subscribers could view full-sized Perfect 10 images via the
 12         Giganews Mimo newsreader.           (See Related Case Dkt. 105, FAC Exhibit 5.)
 13      • No. 37: Admit that subscribers to giganews.com are able to download copies
 14         of copyrighted works owned by Perfect 10 via the Giganews Mimo
 15         newsreader.
 16      • No. 272: Admit that Giganews allows its subscribers to view Perfect 10
 17         copyrighted images via its Mimo newsreader, by transmitting such images to
 18         its users upon their request.
 19         Giganews and Livewire’s Position
 20         This is not a copyright action, and Giganews and Livewire’s alleged receipt
 21 of DMCA notifications of claimed infringement has no connection to the transfers
 22 from Perfect 10 to Zada to hide assets from judgment. These requests do not relate
 23 to whether Defendants made the transfers at issue with the intent to “hinder, delay,
 24 or defraud,” and they do not tend to suggest that Zada or Perfect 10 had a
 25 reasonable belief that Perfect 10 would not incur a debt Perfect 10 would be unable
 26 to pay. See Plaintiffs’ Preliminary Statement, above. Perfect 10 propounds these
 27 requests for no reason but to harass, embarrass, and improperly extend the scope of
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION      48
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  1 this litigation. Fed. R. Civ. P. 26(c)(1).
  2         As discussed above, it is also irrelevant that the requests target alleged facts
  3 or allegations that Zada relied on in believing Perfect 10 could not possibly lose.
  4 The standard for constructive fraudulent transfer is an objective one, making Zada’s
  5 subjective misconceptions additionally irrelevant. The Court should issue a
  6 protective order as to these requests as well.
  7         Perfect 10’s Position
  8         Plaintiffs are completely wrong on this issue. The issue before the Court
  9 here, is not how the Court ruled, but how Perfect 10 believed the Court would rule.
 10 If Perfect 10 believed that it would win, no transfer prior to the entry of the
 11 summary judgment orders could have been fraudulent, because Perfect 10 would
 12 have no basis to believe that Plaintiffs would be creditors. Using Plaintiffs
 13 arguments, whenever a copyright holder is involved in prosecuting a copyright
 14 infringement lawsuit, every transfer to an insider who the company owes money to,
 15 is fraudulent, even if the company was absolutely sure it would win.
 16                 7.    Requests Regarding Litigation Other than the Underlying
 17                       Action
 18      • No. 40: Admit that Perfect 10 was awarded partial summary judgement
 19         against GUBA, Inc. in 2002, on the issue of direct copyright infringement.
 20         See Perfect 10, Inc. v. GUBA, LLC, 2002 WL 34940074 (N.D. Cal., Dec 30,
 21         2002)
 22      • No. 41: Admit that, in its ruling, the GUBA Court stated, “It is also
 23         undisputed that GUBA obtained the subject images by using its propriety
 24         software to ‘retrieve binary files posted by users on the Usenet,’ which
 25         images GUBA then made available on its site for its customers.”
 26      • No. 42: Admit that Arista records LLC., BMG Music, UMG Records, Inc.,
 27         Warner Bros. Records, Inc., and other music plaintiffs received summary
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    49
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  1         judgment against Usenet Operator usenet.com in 2009, on the issues of
  2         direct, vicarious, and contributory liability. See Arista Records LLC v.
  3         Usenet.com, Inc., 633 F.Supp.2d 124 (S.D.N.Y. 2009).
  4      • No. 43: Admit that plaintiff Playboy Enterprises received summary judgment
  5         against defendant Webbworld, Inc. d/b/a Neptics.com, on the issue of direct
  6         and vicarious liability in 1997. See Playboy Enters., Inc. v. Webbworld, Inc.,
  7         991 F.Supp. 543 (N.D. Tex. 1997).
  8      • No. 44: Admit that Webbworld, Inc. d/b/a/ Neptics was found to be directly
  9         liable for storing copies of unlicensed Playboy images on its servers, and
 10         then providing copies of those images to requesting subscribers.
 11      • No. 45: Admit that the Webbworld court found that “Where Netcom gets
 12         paid for providing Internet access for its customers, Neptics com gets paid
 13         for selling the images it stores on its computers.”
 14      • No. 46: Admit that attached to Dr. Zada’s declaration, Related Case Dkt.
 15         508-3, filed on 10/06/2014, as Exhibit 33, is a document entitled “CONSENT
 16         JUDGMENT AND PERMANENT INJUNCTION.”
 17      • No. 47: Admit that the Plaintiffs listed on the document referred to in RFA
 18         No. 46 include Disney Enterprises, Inc. and Twentieth Century Fox Film
 19         Corporation.
 20      • No. 48: Admit that the Defendants listed on the document referred to in RFA
 21         No. 46 included Joseph Morganelli, and Binnews, LLC.
 22      • No. 49: Admit that that the document referred to in RFA No. 46 states,
 23         “Defendants shall pay damages to Plaintiffs in the amount of Fifteen Million
 24         U.S. Dollars (US $15,000,000).
 25      • No. 50: Admit that the second page of the document referred to in RFA No.
 26         46 states, “shall cease and desist from indexing or otherwise providing
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    50
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  1         identification of or access to Copyrighted Works available on Usenet in any
  2         form.” (See Related Case Docket 508-3, Exh. 33 Pg. 2.)
  3      • No. 54: Admit that in his order, Related Case Dkt. 619, Judge Birotte stated,
  4         “Once Giganews has established a peering agreement with another Usenet
  5         provider, it exercises a certain amount of control over the articles it copies
  6         from other servers.” (See Related Case Dkt. 619, p. 4.)
  7      • No. 55: Admit that in 2011, a press release was issued by the office of the
  8         then United States Attorney for the Central District of California, Andre
  9         Birotte, Jr.
 10      • No. 57: Admit that in the press release referred to in RFA No. 55, then U.S.
 11         attorney Birotte, was quoted as saying, “The Justice Department will pursue
 12         and prosecute persons who seek to steal the intellectual property of this
 13         nation.”
 14      • No. 84: Admit that page 2 of Dkt. 536 in the Related Case states, “Nowhere
 15         in the Memo, however, does Giganews establish that it has any rights to even
 16         ONE copyrighted work on its massive servers. Giganews’s excuse – that it
 17         ‘provides access to Usenet’ – is no justification for its theft of more than
 18         25,000 terabytes of the intellectual property of this nation.”
 19      • No. 107: Admit that MGA, which received the award of approximately $137
 20         million in the case of Mattel, Inc. v. MGA Entertainment, Inc., was a creator
 21         of copyrighted works.
 22      • No. 108: Admit that John Fogerty, who received an award of $1.348 million
 23         in the case Fantasy, Inc. v. Fogerty, was a creator of copyrighted songs.
 24      • No. 111: Admit that page 7 of the Supreme Court opinion in Kirstsaeng v.
 25         John Wiley & Sons, Inc., No. 15-375, 579 U.S. (June 16, 2016)
 26         (“Kirstsaeng”) states, “The holder of a copyright that has obviously been
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    51
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  1         infringed has good reason to bring and maintain a suit even if the damages at
  2         stake are small.”
  3      • No. 115: Admit that page 2 the Supreme Court in Kirstsaeng, referred to in
  4         RFA No. 111, states, “By contrast, Kirtsaeng’s [sic] proposal—to give
  5         special consideration to whether a suit meaningfully clarified copyright law
  6         by resolving an important and close legal issue—would produce no sure
  7         benefits.”
  8      • No. 116: Admit that the Supreme Court in Kirstsaeng, referred to in RFA No.
  9         111 in effect, rejected the District’s Court basis for awarding attorney’s fees,
 10         namely that the defendants successful defense helped clarify the boundaries
 11         of the copyright act.
 12      • No. 254: Admit that Disney Enterprises, Inc., Twentieth Century Fox Film
 13         Corporation, and Warner Bros. Entertainment, Inc. filed an Amicus brief in
 14         the case of Spanski v. Polska, U.S. District Court for the District of Columbia
 15         Case No. 17-7051 (hereinafter the “Movie Studio Spanski Brief”) before the
 16         United States Court of Appeals for the District of Columbia Circuit on
 17         October 4, 2017.
 18      • No. 255: Admit page 14 of the Movie Studio Spanski Brief contains the
 19         following text: “First, nothing in the Copyright Act requires proof that a
 20         defendant acted ‘volitionally’ to be liable for direct infringement. Second,
 21         the Supreme Court has rejected the very same arguments … .Third, a
 22         defendant’s automation of infringing activities does not excuse it from direct-
 23         infringement liability.”
 24      • No. 256: Admit that page 15 of the Movie Studio Spanski Brief contains the
 25         following text: “Copyright is a strict liability statute. ‘To establish
 26         infringement,’ only ‘two elements must be proven: (1) ownership of a valid
 27         copyright, and (2) copying of constituent elements of the work that are
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     52
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  1         original.’ Feist Publ’ns, Inc. v. Rural Tel. Serv. Co. 499 U.S. 340, 361
  2         (1991). … Neither this traditional test, nor anything in the text or legislative
  3         history of the Copyright Act, requires ‘volitional conduct’ or any other
  4         additional element to establish direct copyright infringement.”
  5      • No. 257: Admit page 25 of the Movie Studio Spanski Brief contains the
  6         heading: “A Defendant’s Automation of Infringing Conduct is No Defense to
  7         Direct Infringement.”
  8      • No. 258: Admit that the Justice Department filed an Amicus brief in the case
  9         of Spanski v. Polska, U.S. District Court for the District of Columbia Case
 10         No. 17-7051 (hereinafter the “Justice Department Spanski Brief”) which was
 11         also signed by representatives of the U.S. copyright office, before the United
 12         States Court of Appeals for the District of Columbia Circuit on October 4,
 13         2017.
 14      • No. 259: Admit that page 2 of the Justice Department Spanski Brief contains
 15         the following text: “The United States further urges the Court to clarify that
 16         copyright infringement is a strict liability offense.”
 17      • No. 260: Admit that page 19 of the Justice Department Spanski Brief
 18         contains the heading: “COPYRIGHT INFRINGEMENT IS A STRICT
 19         LIABILITY OFFENSE THAT DOES NOT REQUIRE PROOF OF
 20         WRONGFUL INTENT.”
 21      • No. 261: Admit that pages 9-10 of the Justice Department Spanski Brief
 22         contains the following text: “If TVP had streamed SEI’s copyrighted works
 23         from servers within the United States to the American public, it would be
 24         liable for infringement.”
 25      • No. 262: Admit that page 13 of the Justice Department Spanski Brief
 26         contains the following text: “Nothing in the Copyright Act, furthermore,
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     53
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  1         turns on the particular technological mechanism by which the performance to
  2         the public is effected [sic].”
  3      • No. 263: Admit that page 18 of the Justice Department Spanski Brief
  4         contains the following text: “It held that ‘both the broadcaster and the viewer
  5         of a television program ‘perform’ because they both show the program’s
  6         images and make audible the program’s sounds.” Aereo, 134 S. Ct. at 2506
  7         (citing 17 U.S.C. §101).”
  8      • No. 264: Admit that page 20 of the Justice Department Spanski Brief
  9         contains the following text: “It is well established that ‘[c]opyright
 10         infringement is a strict liability offense in the sense that a plaintiff is not
 11         require to prove unlawful intent or culpability.’”
 12      • No. 265: Admit that page 20 of the Justice Department Spanski Brief
 13         contains the following text: “A bit of reflection suffices to realize that such
 14         innocence should no more constitute a defense in an infringement action that
 15         it would to a charge of conversion of tangible property.”
 16      • No. 266: Admit that page 20 of the Justice Department Spanski Brief
 17         contains the following text: The district court erred to the extent it suggested
 18         that intent is necessary predicate to infringement liability.”
 19      • No. 267: Admit that page 21 of the Justice Department Spanski Brief
 20         contained a section entitled “TVP’s ‘Volitional Conduct’ Argument Is
 21         Foreclosed By Aereo.”
 22      • No. 268: Admit that the United States Court of Appeals for the District of
 23         Columbia Circuit issued a ruling in Spanski Enterprises, Inc. v. Telewizja
 24         Polska, S.A. in March of 2018.
 25      • No. 269: Admit that page 8 of the DC Appellate Court’s ruling rejected
 26         Defendant TV Polska’s argument that because it maintained a fully
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION      54
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  1         automated video-on-demand service, its end users were solely liable for any
  2         infringement.
  3      • No. 270: Admit that page 10 of the DC Appellate Court’s ruling states,
  4         “Aereo thus forecloses TV Polska’s argument that the automated nature of its
  5         video-on-demand system or the end user’s role in selecting which content to
  6         access insulates it from Copyright Act liability.”
  7      • No. 271: Admit that page 13 of the DC Appellate Court’s ruling states, “TV
  8         Polska’s conduct, -- ‘us[ing] its own equipment’ to ‘allow[] [users] to watch
  9         television programs, many of which are copyrighted,’ by transmitting content
 10         upon a user’s request, Aereo, 134 S. Ct. at 2506—constitutes infringement
 11         under Aereo’s binding authority, whatever the scope of any such requirement
 12         might otherwise be.”
 13         Giganews and Livewire’s Position
 14         The outcomes of other cases in different jurisdictions, involving other parties,
 15 and with unique facts have no connection to the transfers from Perfect 10 to Zada to
 16 hide assets from judgment. They arguably have no connection even to the
 17 underlying copyright case. These requests do not relate to whether Defendants
 18 made the transfers at issue with the intent to “hinder, delay, or defraud,” and they
 19 do not tend to suggest that Zada or Perfect 10 had a reasonable belief that Perfect
 20 10 would not incur a debt Perfect 10 would be unable to pay. See Plaintiffs’
 21 Preliminary Statement, above. Perfect 10 propounds these requests for no reason
 22 but to harass, embarrass, and improperly extend the scope of this litigation. Fed. R.
 23 Civ. P. 26(c)(1).
 24         It is also irrelevant that the requests target alleged facts or allegations that
 25 Zada relied on in believing Perfect 10 could not possibly lose. The standard for
 26 constructive fraudulent transfer is an objective one, making Zada’s subjective
 27 misconceptions additionally irrelevant.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION      55
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  1         Perfect 10 argues that the requests target alleged facts that convinced Zada of
  2 a Perfect 10 victory. The argument is tantamount to suggesting that because other
  3 copyright suits—involving different parties, allegations, and jurisdictions—were
  4 successful, Zada could not reasonably have foreseen losing. If that were how stare
  5 decisis worked, there would be no place for a legal defense or even litigation
  6 because the earliest case would control. The requests are therefore irrelevant and
  7 burdensome, demanding effort well beyond any appropriate needs of this case. The
  8 Court should issue a protective order as to these requests as well.
  9         Perfect 10’s Position
 10         These RFAs are easy to answer because most simply ask Plaintiffs to confirm
 11 the language in certain documents. Plaintiffs continue to misstate the law and
 12 ignore their own allegations. They have alleged in paragraphs 38 and 40 of their
 13 FAC that Perfect 10 knew it would lose early on. Dr. Zada is entitled to
 14 demonstrate that not only did he think Perfect 10 would win, but extremely
 15 respectable and completely unbiased entities such as the RIAA, MPAA, Justice
 16 Department and Copyright Office thought Perfect 10 would win as well. The fact
 17 that the Supreme Court in Kirtsaeng basically sided with Perfect 10 that an award
 18 should not have been made, is extremely important as well. Admitting to these
 19 RFAs should destroy Plaintiffs case, which is why Plaintiffs attempt to avoid them.
 20                8.     Requests Regarding Criminal Investigations
 21      • No. 51: Admit that Perfect 10 filed a document in the Related Case on
 22         07/11/11 (See Related Case Dkt. 26-3, Exh. 21, Pg. 6)), which displayed
 23         insignias from several agencies, including the Department of Justice, which
 24         stated, “This domain name has been seized by the U.S. Immigration and
 25         Customs Enforcement… It is unlawful to reproduce or distribute copyrighted
 26         materials, such as movies, music, software or games, without authorization.”
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   56
      TO COMPEL PRODUCTION OF DOCUMENTS AND               CASE NO.: 2:17-cv-05075-AB (JPR)
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  1      • No. 76: Admit that Perfect 10 filed a document in the Related Case on
  2         07/11/11 (See Related Case Dkt. 26-3, Exh. 21, Pg. 1), entitled “HATCH,
  3         INTERNATIONAL ANTI-PIRACY CAUCUS UNVEILS ‘2010
  4         INTERNATIONAL PIRACY WATCH LIST’” dated May 19th, 2010.
  5      • No. 77: Admit that document referred to in RFA No. 76 contained the
  6         following text: “To assure the continued creation and distribution of music,
  7         movies, software and books, from which we all benefit, we must ensure that
  8         our artists, creators, and producers are paid for their work.”
  9      • No. 78: Admit that there were news reports on March 24, 2016, that the
 10         operator of a Usenet provider “Newsoo” was arrested in France. (See Dkt.
 11         34-6 from this case.)
 12      • No. 79: Admit that one news report stated that Newsoo was “small by
 13         Giganews standards.” (See Dkt. 34-6, page 2, from this case.)
 14      • No. 80: Admit that there were news reports in November of 2017, which
 15         stated that German police shut down multiple Usenet sites overseas. (See
 16         Dkt. 34- 7 from this case.)
 17      • No. 81: Admit that a number of Usenet Operators in Europe were arrested in
 18         2016 and 2017.
 19         Giganews and Livewire’s Position
 20         The requests concern law enforcement investigations, criminal activities, and
 21 criminal punishments in cases that occurred in other jurisdictions, and in some
 22 cases, other countries. These requests also do not relate to whether Defendants
 23 made the transfers at issue with the intent to “hinder, delay, or defraud,” and they
 24 do not tend to suggest that Zada or Perfect 10 had a reasonable belief that Perfect
 25 10 would not incur a debt Perfect 10 would be unable to pay. See Plaintiffs’
 26 Preliminary Statement, above. Perfect 10 propounds these requests for no reason
 27 but to harass, embarrass, and improperly extend the scope of this litigation. Fed. R.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    57
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 Civ. P. 26(c)(1).
  2         It is also irrelevant that the requests target alleged facts or allegations that
  3 Zada relied on in believing Perfect 10 could not possibly lose. The standard for
  4 constructive fraudulent transfer is an objective one, making Zada’s subjective
  5 misconceptions additionally irrelevant.
  6         Perfect 10’s Position
  7         Once again the RFAs are easy to admit because most simply ask that
  8 Plaintiffs confirm that certain documents contained certain language. The fact that
  9 other Usenet Operators were arrested in Europe is extraordinarily significant,
 10 because it supports Dr. Zada’s testimony that he was certain that Perfect 10 would
 11 win in part because Plaintiffs were committing blatant criminal copyright
 12 infringement.
 13                9.     Requests Regarding Usenet
 14      • No. 207: Admit that Related Case Dkt. 436 [Perfect 10’s opposition to
 15         Giganews’s motion for summary judgment on the issue of direct copyright
 16         infringement] at page 7:5-8 states, “As a result of the peering process,
 17         Giganews has offered approximately 61,000 copies of Perfect 10’s
 18         copyrighted images to other Usenet providers with which it has peering
 19         agreements, and to users who pay Giganews its monthly fee, even though
 20         Perfect 10 has never authorized Giganews to do so.”
 21      • No. 208: Admit that Related Case Dkt. 436 at page 7:9-11 states, “In
 22         addition, during the peering process, Giganews has copied at least 9,604
 23         Perfect 10 images onto its Usenet servers from other Usenet providers with
 24         which it has peering agreements.”
 25         Giganews and Livewire’s Position
 26         Usenet is “an international collection of organizations and individuals
 27 (known as ‘peers’) whose computers connect to one another and [by which the
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION      58
      TO COMPEL PRODUCTION OF DOCUMENTS AND                  CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 peers] exchange messages posted by USENET users.’” Ellison v. Robertson, 357
  2 F.3d 1072, 1074 n.1 (9th Cir. 2004) (citation omitted). Giganews’s provision of
  3 Usenet access has no conceivable connection to the transfers from Perfect 10 to
  4 Zada to evade enforcement of the Court’s judgment. The requests do not relate to
  5 whether Defendants made the transfers at issue with the intent to “hinder, delay, or
  6 defraud,” and they do not tend to suggest that an adverse fee award is not a
  7 reasonably foreseeable risk of Perfect 10’s copyright litigation.
  8         Perfect 10’s Position
  9         The RFAs are easy to answer and Plaintiffs are once again misstating the law
 10 and ignoring their own allegations in paragraphs 38 and 40 of their FAC.
 11 Defendants certainly have the right to refute those allegations, which is exactly
 12 what the above RFAs attempt to do. Both RFA 207 and 208 establish that
 13 Giganews satisfied the normal standard for direct copyright infringement.
 14                10.    Requests Regarding Megaupload
 15      • No. 56: Admit that the press release referred to in RFA No. 55 stated that one
 16         Gilberto Sanchez was sentenced to jail for a year for uploading a copy of the
 17         movie “X-Men Origins: Wolverine” to the website Megaupload.com.
 18      • No. 65: Admit that Related Case Dkt. 506, a declaration signed by Dr. Zada
 19         on September 29, 2014, states in paragraph 31: “Attached as page 1 of
 20         Exhibit 15 is a true and correct copy of a spreadsheet I created in 2013 which
 21         compared the number of movie files offered by Giganews as compared to
 22         Megaupload, a website whose operators are currently being prosecuted for
 23         criminal copyright infringement by the U.S. Justice Department.”
 24      • No. 66: Admit that in that same paragraph referred to in RFA No. 65, Dr.
 25         Zada stated, “Giganews offered a total of 7,968 files that were 4 GB or more,
 26         as opposed to 33 for Megaupload; or a ratio of 242 to 1.”
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   59
      TO COMPEL PRODUCTION OF DOCUMENTS AND              CASE NO.: 2:17-cv-05075-AB (JPR)
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  1      • No. 71: Admit that Exhibit 10 to Perfect 10’s FAC in the Related Case
  2         contains the text: “Justice Department Charges Leaders of Megaupload with
  3         Widespread Online Copyright Infringement.”
  4      • No. 72: Admit that same exhibit referred to in RFA No. 71 contains the text:
  5         “Seven individuals and two corporations have been charged in the United
  6         States with running an international organized criminal enterprise allegedly
  7         responsible for massive worldwide online piracy of numerous types of
  8         copyrighted works, through Megaupload.com and other related sites,
  9         generating more than $175 million in criminal proceeds…”
 10      • No. 73: Admit that Exhibit 10 to Perfect 10’s FAC in the Related Case
 11         indicated that the operators of Megaupload.com were being prosecuted for
 12         criminal copyright infringement.
 13      • No. 74: Admit that Exhibit 10 to Perfect 10’s FAC in the Related Case
 14         contains the text: “According to the indictment, for more than five years the
 15         conspiracy has operated websites that unlawfully reproduce and distribute
 16         infringing copies of copyrighted works, including movies…”
 17      • No. 75: Admit that Related Case Dkt. 436, at page 1:9-11 states, “Defendants
 18         offer more than 240 times as many full-length movies as the website
 19         megaupload.com, whose operators are facing 25 years in prison for criminal
 20         copyright infringement.”
 21         Giganews and Livewire’s Position
 22         Megaupload was a controversial “digital storage locker” company with a
 23 vastly different technology, business model, and set of business practices from
 24 those of Giganews and Livewire. Perfect 10’s wild assertions in the Related Case
 25 trying to compare Giganews and Livewire to Megaupload have no bearing on this
 26 case. Perfect 10 got past a motion to dismiss in the Related Case by pleading a
 27 similarity between Megaupload and Giganews that Perfect 10 could never establish
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   60
      TO COMPEL PRODUCTION OF DOCUMENTS AND              CASE NO.: 2:17-cv-05075-AB (JPR)
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  1 as a fact, which is why the Court granted summary judgment to Giganews on
  2 Perfect 10’s direct infringement claim. These requests are wholly irrelevant and
  3 improper.
  4         Perfect 10’s Position
  5         Megaupload and Giganews do exactly the same thing. They both sell access
  6 to pirated materials stored on their servers for a monthly fee. The exact technology
  7 used to steal is irrelevant. If one is copying movies and songs without permission
  8 for commercial gain, one satisfies the standard for criminal copyright infringement.
  9 For that reason, as well as the undisputable fact that Usenet Operators have recently
 10 been arrested in Europe, Perfect 10 was completely justified in believing it would
 11 win the case, which means that it could not have expected that Plaintiffs would ever
 12 be creditors.
 13                 11.   Requests Regarding Movies, Television Shows, and Music
 14      • No. 58: Admit that Dkt. 506 in the related case, a declaration signed by Dr.
 15         Zada on September 29, 2014, states in paragraph 27, “Attached as Exhibit 11
 16         are true and correct copies of six pages of results I obtained by doing a search
 17         using the Mimo newsreader on ‘X-Men Origins,’ the name of a well-known
 18         movie. The first four pages were printed on August 12, 2014. I sorted the
 19         results by ‘Size’ before print-screening this Exhibit. The size of the first
 20         message is 43 GB, which is the size of at least 8 DVDs.”
 21      • No. 59: Admit that Dkt. 506 in the related case, a declaration signed by Dr.
 22         Zada on September 29, 2014, states in paragraph 28 of that declaration,
 23         “Attached as Exhibit 12 is a true and correct copy of pages from Defendants
 24         production. I have circled in red on page 1 where the document indicates that
 25         Defendants have received at least one DMCA notice regarding the same
 26         movie, X-Men Origins, shown in Exhibit 11.”
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    61
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1      • No. 60: Admit that YOU have received at least one notice regarding the
  2         movie, X-Men Origins: Wolverine.
  3      • No. 61: Admit that YOU have received at least ten notices regarding the
  4         movie, X-Men Origins: Wolverine.
  5      • No. 62: Admit that examples of the search results on “X-Men Origins” using
  6         the Giganews Mimo newsreader were attached to Dr. Zada’s declaration (See
  7         Related Case Dkt. 506) as Exhibit 11.
  8      • No. 63: Admit that listed in those results referred to in RFA No. 62 were
  9         multiple files that were over 40 GB in Size.
 10      • No. 64: Admit that GIGANEWS has reproduced copies of the movie “X-
 11         Men Origins: Wolverine” without authorization.
 12      • No. 68: Admit that Dr. Zada attached to his declaration (Related Case Dkt.
 13         506), as Exhibit 14, a six page list of major movies and TV shows entitled
 14         “POPULAR WORKS OFFERED BY DEFENDANTS DESPITE NOTICE.”
 15      • No. 69: Admit that six page list referred to in RFA No. 68 contained the
 16         movies “The Hunger Games,” “Casino,” “Fast and Furious,” “Jaws,”
 17         “Jurassic Park,” “Liar Liar,” The Scorpion King,” “Eagle Eye,”
 18         “Transformers,” “Tropic Thunder,” “Harry Potter and the Half Blood
 19         Prince,” and “The Dark Knight.”
 20      • No. 70: Admit that six page list referred to in RFA No. 68 contained the TV
 21         series, “Boardwalk Empire,” “Curb Your Enthusiasm,” “Entourage,”
 22         “Everybody Loves Raymond,” “Real Time With Bill Maher,” “Sex and the
 23         City,” “The Sopranos,” “True Blood,” “Law and Order,” and “Miami Vice,”
 24         among others.
 25      • No. 85: Admit that page 5 of Dkt. 536 in the Related Case states, “Giganews
 26         offers tens of thousands of messages with ‘bootleg’ in their Message Titles,
 27         which contain works by most major artists, such as Beyonce, Bob Dylan,
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   62
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Bob Marley, Bruce Springsteen, Chicago, Michael Jackson, The Beatles, and
  2         The Eagles. Zada Decl. ¶ 31, Exh. 15.”
  3      • No. 273: Admit that page 5 of Dkt. 536 in the Related Case states, “By its
  4         own admission, Giganews has received hundreds of thousands of DMCA
  5         notices, which identify infringing movies, songs, and other copyrighted
  6         works on Giganews’s Usenet servers. Zada Decl. ¶ 30, Exh. 14. For example,
  7         Giganews has received DMCA notices regarding thousands of popular
  8         movies, such as ‘X-Men Origins: Wolverine,” ‘The Dark Knight,’ and ‘Fast
  9         and Furious,’ and numerous popular television series, such as ‘True Blood,’
 10         ‘Boardwalk Empire,’ ‘Entourage,’ and ‘Curb Your Enthusiasm.’
 11         Nevertheless, Giganews is still offering hundreds of copies of these same
 12         works to its users. Id. ¶¶ 27-31, Exhs. 11-15. In fact, in the last three weeks,
 13         Giganews has copied large numbers of episodes of ‘The Sopranos,’
 14         ‘Boardwalk Empire,’ ‘Miami Vice,’ and copies of ‘Michael Jackson’s
 15         Thriller,’ and ‘The Dark Knight’ onto its Usenet servers. Id., ¶ 29, Exh. 13,
 16         pp. 21-26. Giganews has received countless DMCA notices regarding these
 17         works. Id. ¶ 30, Exh. 14. In other words, Giganews is not an innocent host;
 18         rather it is a copyright pirate.”
 19      • No. 274: Admit that paragraph 30 of declaration of Philip Molter (Related
 20         Case Dkt. 523-1 filed 10/13/14), an employee of Giganews, states,
 21         “Giganews has received DMCA-compliant notices from a wide range of
 22         copyright claimants, including Warner Bros, HBO, Lionsgate Films, the
 23         Entertainment Software Association, the Recording Industry Association of
 24         America (“RIAA”), Microsoft, and NBC Universal.”
 25      • No. 276: Admit that YOU have received notices from HBO, advising YOU
 26         that YOU were offering HBO content without permission.
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    63
      TO COMPEL PRODUCTION OF DOCUMENTS AND                CASE NO.: 2:17-cv-05075-AB (JPR)
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  1      • No. 277: Admit that YOU received a notice from HBO, dated December 23,
  2         2009, which stated, “I am writing this letter on behalf of HOME BOX
  3         OFFICE, INC. (“HBO”). It has come to our attention that your website is
  4         hosting and facilitating the streaming and downloading of the television
  5         program, in which HBO is the owner in copyright and/or owner of exclusive
  6         rights (the “HBO Properties.”) These properties (listed below) are currently
  7         available on your website located at Giganews (the “Website”). No one is
  8         authorized to exhibit, reproduce, transmit, or otherwise distribute the HBO
  9         Properties without the express written permission of HBO, which permission
 10         HBO has not granted to you.” See GIGANEWS00022281-83
 11      • No. 278: Admit that that same notice went on to state, “Accordingly HBO
 12         demands that you immediately cease and desist distribution of the HBO
 13         Properties in connection with the Website…”
 14      • No. 279: Admit that YOU received a notice from HBO, dated December 24,
 15         2009, which stated, “I am writing this letter on behalf of HOME BOX
 16         OFFICE, INC. (“HBO”). It has come to our attention that your website is
 17         hosting and facilitating the streaming and downloading of the television
 18         program, in which HBO is the owner in copyright and/or owner of exclusive
 19         rights (the “HBO Properties.”) These properties (listed below) are currently
 20         available on your website located at Giganews (the “Website”). No one is
 21         authorized to exhibit, reproduce, transmit, or otherwise distribute the HBO
 22         Properties without the express written permission of HBO, which permission
 23         HBO has not granted to you.” See GIGANEWS00026228-30.
 24      • No. 280: Admit that the above notice referred to in RFA No. 279 listed True
 25         Blood as one of the HBO properties allegedly infringed.
 26      • No. 281: Admit that in the past, Giganews has stored on its servers,
 27         unlicensed copies of episodes of the HBO series, “True Blood.”
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   64
      TO COMPEL PRODUCTION OF DOCUMENTS AND              CASE NO.: 2:17-cv-05075-AB (JPR)
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  1      • No. 282: Admit that YOU received a notice from Steven S. Rosenthal,
  2         Manager, Anti-Piracy, Legal Department, Home Box Office, advising YOU
  3         that on January 28, 2009, your company was providing unauthorized copies
  4         of the following HBO Properties to your subscribers: “Sex and the City,”
  5         [GIGANEWS00087337]; “Everybody Loves Raymond,”
  6         [GIGANEWS00087332]; “The Wire,” [GIGANEWS00087361]; “The
  7         Sopranos,” [GIGANEWS00087367], GIGANEWS00090809]; “True Blood,”
  8         [GIGANEWS00087378]; “Entourage” and “Real Time with Bill Maher,”
  9         [GIGANEWS00087397].
 10      • No. 283: Admit that in the past, Giganews has stored on its servers,
 11         unlicensed copies of episodes of the HBO series, “Sex and the City.”
 12      • No. 284: Admit that in the past, Giganews has stored on its servers,
 13         unlicensed copies of episodes of the HBO series, “Everybody Loves
 14         Raymond.”
 15      • No. 285: Admit that in the past, Giganews has stored on its servers,
 16         unlicensed copies of episodes of the HBO series, “The Sopranos.”
 17      • No. 286: Admit that YOU received a notice from Steven S. Rosenthal,
 18         Manager, Anti-Piracy, Legal Department, Home Box Office, advising YOU
 19         that on January 28, 2009, your company was providing unauthorized copies
 20         of the following HBO Properties to your subscribers: “HBO Boxing (All
 21         Fights) [GIGANEWS00090817]; “Flight of the Conchords,”
 22         [GIGANEWS00090831]; “Curb Your Enthusiasm,”
 23         [GIGANEWS00090874].
 24      • No. 287: Admit that in the past, Giganews has stored on its servers,
 25         unlicensed copies of episodes of the HBO series, “Curb Your Enthusiasm.”
 26      • No. 288: Admit that YOU received a notice on November 20, 2009, from
 27         Steven S. Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   65
      TO COMPEL PRODUCTION OF DOCUMENTS AND             CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         Office, advising YOU that your company was hosting and facilitating the
  2         streaming and downloading of the HBO series Curb Your Enthusiasm,
  3         without HBO’s permission. GIGANEWS00018983-84.
  4      • No. 289: Admit that YOU received a notice on November 20, 2009, from
  5         Steven S. Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box
  6         Office, advising YOU that your company was hosting and facilitating the
  7         streaming and downloading of the HBO series True Blood, without HBO’s
  8         permission. GIGANEWS00013918-19.
  9      • No. 290: Admit that YOU received a notice on November 20, 2009, from
 10         Steven S. Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box
 11         Office, advising YOU that your company was hosting and facilitating the
 12         streaming and downloading of the HBO series True Blood, without HBO’s
 13         permission. GIGANEWS00020287-88.
 14      • No. 291: Admit that YOU received a notice from HBO, dated December 28,
 15         2009, which stated, “I am writing this letter on behalf of HOME BOX
 16         OFFICE, INC. (“HBO”). It has come to our attention that your website is
 17         hosting and facilitating the streaming and downloading of the television
 18         program, in which HBO is the owner in copyright and/or owner of exclusive
 19         rights (the “HBO Properties.”) These properties (listed below) are currently
 20         available on your website located at Giganews (the “Website”). No one is
 21         authorized to exhibit, reproduce, transmit, or otherwise distribute the HBO
 22         Properties without the express written permission of HBO, which permission
 23         HBO has not granted to you.” See GIGANEWS00026232-34.
 24      • No. 292: Admit that the above notice listed True Blood as one of the HBO
 25         properties allegedly infringed.
 26      • No. 293: Admit that YOU received a notice on June 7, 2010, from Steven S.
 27         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   66
      TO COMPEL PRODUCTION OF DOCUMENTS AND              CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         advising YOU that your company was hosting and facilitating the streaming
  2         and downloading of the HBO series True Blood, without HBO’s permission.
  3         GIGANEWS00013918-19.
  4      • No. 294: Admit that YOU received a notice on June 8, 2010, from Steven S.
  5         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
  6         advising YOU that your company was hosting and facilitating the streaming
  7         and downloading of the HBO series True Blood, without HBO’s permission.
  8         GIGANEWS00012751-53.
  9      • No. 295: Admit that YOU received a notice on June 27, 2010, from Steven S.
 10         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
 11         advising YOU that your company was hosting and facilitating the streaming
 12         and downloading of the HBO series True Blood, without HBO’s permission.
 13         GIGANEWS00012138-39.
 14      • No. 296: Admit that YOU received a notice on July 8, 2010, from Steven S.
 15         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
 16         advising YOU that your company was hosting and facilitating the streaming
 17         and downloading of the HBO series True Blood, without HBO’s permission.
 18         GIGANEWS00018997-98.
 19      • No. 297: Admit that YOU received a notice on July 22, 2010, from Steven S.
 20         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
 21         advising YOU that your company was hosting and facilitating the streaming
 22         and downloading of the HBO series True Blood, without HBO’s permission.
 23         GIGANEWS00015184-85.
 24      • No. 298: Admit that YOU received a notice on July 31, 2010, from Steven S.
 25         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
 26         advising YOU that your company was hosting and facilitating the streaming
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   67
      TO COMPEL PRODUCTION OF DOCUMENTS AND            CASE NO.: 2:17-cv-05075-AB (JPR)
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  1         and downloading of the HBO series True Blood, without HBO’s permission.
  2         GIGANEWS00015188-89.
  3      • No. 299: Admit that members of giganews.com have been able to download
  4         copies of episodes of the HBO series “True Blood,” from Giganews’s
  5         servers.
  6      • No. 300: Admit that YOU received a notice which stated, “No one is
  7         authorized to exhibit, reproduce, transmit, or otherwise distribute HBO
  8         Properties without the express written permission of HBO, and the
  9         unauthorized distribution of HBO Properties constitutes copyright
 10         infringement”, related to the series “Banshee.” See GIGANEWS00079936-
 11         79941
 12      • No. 301: Admit that YOU received a notice which stated, “No one is
 13         authorized to exhibit, reproduce, transmit, or otherwise distribute HBO
 14         Properties without the express written permission of HBO, and the
 15         unauthorized distribution of HBO Properties constitutes copyright
 16         infringement”, related to the series “True Detective.” See
 17         GIGANEWS00079990-80000.
 18      • No. 303: Admit that YOU received a notice on July 30, 2010, from Steven S.
 19         Rosenthal, Manager, Anti-Piracy, Legal Department, Home Box Office,
 20         advising you that your company was hosting and facilitating the streaming
 21         and downloading of the HBO series Entourage, without HBO’s permission.
 22         GIGANEWS00012271-72.
 23      • No. 304: Admit that subscribers to Giganews have been able to download
 24         unlicensed episodes of the TV series “Entourage.”
 25      • No. 305: Admit that YOU have received notices from NBC Universal,
 26         advising YOU that YOU were offering NBC Universal content including
 27         movies, without permission.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   68
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  1      • No. 306: Admit that YOU have received notices from Paramount Studios,
  2         advising YOU that YOU were offering Paramount content, including movies,
  3         without permission.
  4      • No. 307: Admit that YOU have received notices from Sony Pictures,
  5         advising YOU that YOU were offering Sony content, including movies,
  6         without permission.
  7      • No. 308: Admit that YOU have received notices from Disney, advising YOU
  8         that YOU were offering Disney content, including movies, without
  9         permission.
 10      • No. 309: Admit that YOU have received notices from Microsoft, advising
 11         YOU that YOU were offering Microsoft software without permission.
 12      • No. 310: Admit that subscribers to giganews.com are able to obtain
 13         unlicensed copies of movies owned by NBC Universal which are stored on
 14         Giganews’s servers.
 15      • No. 311: Admit that subscribers to giganews.com are able to obtain
 16         unlicensed copies of movies owned by Paramount Studios which are stored
 17         on Giganews’s servers.
 18      • No. 312: Admit that subscribers to giganews.com are able to obtain
 19         unlicensed copies of movies owned by Disney which are stored on
 20         Giganews’s servers.
 21      • No. 313: Admit that subscribers to giganews.com are able to obtain
 22         unlicensed copies of movies owned by Twentieth Century Fox which are
 23         stored on Giganews’s servers.
 24         Giganews and Livewire’s Position
 25         Perfect 10 seeks admissions regarding Hollywood movies, various hit
 26 television shows, popular music, and production companies with no relation to any
 27 Perfect 10 copyrights. These requests bear no connection to the original copyright
 28
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  1 action let alone the claims in this case. They are a baseless attempt to paint
  2 Plaintiffs as bad actors, collaterally attack the district court’s judgment, and distract
  3 from Defendants’ financial fraud.
  4         Perfect 10’s Position
  5         In order to establish fraudulent transfers, Plaintiffs must show that Dr. Zada
  6 continued to litigate a case he expected to lose. That allegation by itself, defies
  7 logic and common sense. Anyone who has gone to the movies has seen the
  8 disclaimer on the screen which states that it is unlawful to make a copy of the
  9 movie and provide it to someone else. Plaintiffs do just that en masse, for
 10 commercial gain, which is, plain and simple, criminal copyright infringement.
 11 There is a reason why Apple, Netflix, Amazon, and Hulu pay for the rights to the
 12 materials they copy and distribute to their subscribers. To do otherwise is unlawful.
 13 No copyright holder expects to lose to criminal copyright infringers, let alone be
 14 bankrupted by filing suit against them.
 15         The above RFAs establish that Giganews received numerous notices
 16 regarding its unauthorized commercial exploitation of the same TV shows and
 17 movies, and yet continued to offer those same infringing materials. That evidence
 18 would disqualify Giganews from a DMCA safe harbor and well as subject it to
 19 prosecution for criminal copyright infringement.
 20                12.    Requests Regarding Amicus Briefs in the Underlying Case
 21      • No. 212: Admit that on 12/23/2015, the Recording Industry Association of
 22         America (“RIAA”) filed an Amicus brief before the Ninth Circuit in the
 23         appeal of the judgment in the Related Case (hereinafter the “RIAA Amicus
 24         brief”).
 25      • No. 213: Admit that the first page of the RIAA Amicus brief contains the
 26         following language “Recording Industry Association of America, Inc.
 27
 28
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  1         (“RIAA”) respectfully submits this brief urging reversal of the district court
  2         rulings addressed herein.”
  3      • No. 214: Admit that the first page of the RIAA Amicus brief contains the
  4         following language: “The business of defendants-appellees (“defendants”) is
  5         built on unlawfully exploiting the works of RIAA members and others, by
  6         engaging in and facilitating for profit the unauthorized copying and
  7         distribution of these works on a massive scale. The RIAA’s members are
  8         harmed by the type of large-scale Internet piracy at issue in this case.”
  9      • No. 215: Admit that pages 2-3 of the RIAA Amicus brief includes the
 10         following language: “The district court believed that the rulings now under
 11         review ‘helped demarcate the boundaries of copyright law.” Perfect 10, Inc.
 12         v. Giganews, Inc. 2015 WL 1746484, at *7 (C.D. Cal. Mar. 24, 2015)
 13         (Birotte, J.) (quotation omitted). On a number of important issues regarding
 14         liability for direct and secondary copyright infringement, the district court
 15         indeed staked out new law in a sense – by disregarding and misapplying
 16         existing law, including controlling Supreme Court and Ninth Circuit
 17         precedent. In doing so, the district court provided legal immunity to a
 18         business that profits from mass piracy by selling access to unauthorized
 19         copies of copyrighted works that it chooses to copy, store, and make
 20         available on its servers. This is the very same type of business that the
 21         Southern District of New York in an earlier case held liable for direct,
 22         contributory, and vicarious infringement, and intentional inducement of
 23         infringement.. [sic] See Arista Records LLC v. Usenet.com, Inc. 633
 24         F.Supp. 2d 124, 159 (S.D.N.Y. 2009) (“Arista II”). The district court’s
 25         analysis of important copyright law questions was wrong in at least the
 26         following ways:”
 27
 28
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  1      • No. 216: Admit that page 4 of the RIAA Amicus brief contains the following
  2         text: “In rulings entered on motions to dismiss, … the district court misstated
  3         and misapplied the law of direct infringement in three important and related
  4         respects.”
  5      • No. 217: Admit that page 5 of the RIAA Amicus brief contains the following
  6         text: “The district court misstated the test for intentional inducement of
  7         copyright infringement by confusing it with the test for contributory
  8         infringement by material contribution.”
  9      • No. 218: Admit that page 6 of the RIAA Amicus brief contains the following
 10         text: “The district court also misapplied the law governing the knowledge
 11         element of contributory infringement by material contribution.”
 12      • No. 219: Admit that page 7 of the RIAA Amicus brief contains the following
 13         text: “Finally, the district court misstated the law of vicarious infringement
 14         liability.”
 15      • No. 220: Admit that page 7 of the RIAA Amicus brief contains the following
 16         text: “Citing no legal authority, the district court added an extra element to
 17         the vicarious liability test. The court held that a plaintiff also must prove that
 18         its own works, or its category of works, acted as a specific draw to
 19         defendants’ service. … This ruling is contrary to decades of vicarious
 20         infringement jurisprudence…”
 21      • No. 221: Admit page 8 of the RIAA Amicus brief described Plaintiff’s
 22         business as a “Modern Piracy Service.”
 23      • No. 222: Admit that the RIAA is not known for filing Amicus briefs in
 24         support of frivolous or meritless cases.
 25      • No. 223: Admit that page 10 of the RIAA Amicus brief included the
 26         following language: “This case simply involves defendants who utilize the
 27         Usenet to profit from piracy by selling access to infringing content from
 28
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  1         private servers that they control. Unlike legitimate service providers involved
  2         in the early Usenet cases, the defendants here are committing blatant
  3         copyright infringement.”
  4      • No. 224: Admit that page 11 of the RIAA Amicus brief contains the heading
  5         “The District Court Misstated the Test for Direct Copyright Infringement.”
  6      • No. 225: Admit that page 12 of the RIAA Amicus brief contains the
  7         language: “This Court Should Reject a ‘Volitional Conduct’ Test for Direct
  8         Infringement.”
  9      • No. 226: Admit that page 17 of the RIAA Amicus brief contains the heading
 10         “Automation Does Not Negate a Defendant’s Direct Infringement.”
 11      • No. 227: Admit that the RIAA filed a second Amicus Brief in support of
 12         Perfect 10’s petition for panel rehearing and rehearing en banc (hereinafter
 13         the RIAA Second Amicus brief.”)
 14      • No. 228: Admit that page 4 of the RIAA Second Amicus brief contains the
 15         heading: “THE PANEL’S VICARIOUS COPYRIGHT INFRINGEMENT
 16         RULING IS INCORRECT AND, IF LEFT UNDISTURBED, WILL HAVE
 17         HARMFUL CONSEQUENCES”
 18      • No. 229: Admit that page 13 of the RIAA Second Amicus brief contains the
 19         heading: “If Allowed To Stand, The Panel’s Decision Will Harm Copyright
 20         Holders, Especially Individuals And Small Businesses.”
 21      • No. 230: Admit that page 16 of the RIAA Second Amicus brief contains the
 22         following heading: “THE PANEL IGNORED THIS COURT’S
 23         ESTABLISHED ‘SITE AND FACILITIES’ TEST FOR CONTRIBUTORY
 24         COPYRIGHT INFRINGEMENT.”
 25      • No. 231: Admit that page 18 of the RIAA Second Amicus brief contains the
 26         following heading: “THE MERE FACT OF AUTOMATION DOES NOT
 27         NEGATE A DEFENDANT’S DIRECT INFRINGEMENT.”
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   73
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  1      • No. 232: Admit that page 18 of the RIAA Second Amicus brief contains the
  2         following language: “Finally, the panel also erred by accepting the district
  3         court’s determination that defendants could not be liable for direct
  4         infringement because they had automated much of their conduct, and by
  5         rejecting key evidence of defendants’ direct infringement. Opinion 18. That
  6         included evidence that defendants had targeted for copying and distribution
  7         news-groups and servers known to feature pirated content, programming
  8         their servers to copy such content and store it long enough to make
  9         defendants’ service a preferred destination for users looking for pirated
 10         music, movies, software, and images. See D. Ct. 508-2, Ex. 16, at 1 (news-
 11         group titles including ‘alt.binaries.music.beatles,’
 12         alt.binaries.music.springsteen,’ and alt.binaries.playboy’).”
 13      • No. 249: Admit that the Motion Picture Association of America (“MPAA”),
 14         filed an Amicus brief on 3/3/2017, in support of Perfect 10’s Petition for
 15         Rehearing or Rehearing en Banc (hereinafter “MPAA Amicus brief.”)
 16      • No. 250: Admit that Judge Birotte, Jr. in his Order dated 11/14/2014, found
 17         that, to establish direct financial benefit, “Perfect 10 must prove with
 18         competent evidence that at least some of Giganews’ customers were ‘drawn’
 19         to Giganews’ services, in part, to obtain access to infringing Perfect 10
 20         material.”
 21      • No. 251: Admit that page 3 of the MPAA Amicus brief states, “Prior to the
 22         district court and panel decisions in this case, neither this court nor any other
 23         the MPAA is aware of had held that a copyright holder was required to make
 24         a further showing that users were drawn to a defendant’s site or service by
 25         the availability of ‘the plaintiffs copyrighted material’ specifically. …
 26         Interpreting the direct financial benefit prong to require a plaintiff to make
 27         that showing conflicts with decades of precedent.”
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    74
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  1      • No. 252: Admit that page 5 of the MPAA Amicus brief contains the
  2         following heading: “THE PANEL’S INTERPRETATION OF THE DIRECT
  3         FINANCIAL BENEFIT TEST IS INCONSISTENT WITH DECADES OF
  4         PRECEDENT.”
  5      • No. 253: Admit that page 7 of the MPAA Amicus brief contains the
  6         following heading: “Courts Have Never Required A Plaintiff To Show That
  7         Its Specific Works Were The Draw For Third-Party Infringers.”
  8         Giganews and Livewire’s Position
  9         Like those in other categories, these requests attempt to relitigate the merits
 10 of the copyright case Perfect 10 lost. They are irrelevant. The requests target
 11 information with no possible bearing on the transfers from Perfect 10 to Zada to
 12 hide assets from judgment. These requests do not relate to whether Defendants
 13 made the transfers at issue with the intent to “hinder, delay, or defraud,” and they
 14 do not tend to suggest that Zada or Perfect 10 had a reasonable belief that Perfect
 15 10 would not incur a debt Perfect 10 would be unable to pay. It is also irrelevant
 16 that the requests target alleged facts that Zada relied on in believing Perfect 10
 17 would not lose its copyright case. The standard for constructive fraudulent transfer
 18 is an objective one, making Zada’s subjective misconceptions about the likelihood
 19 of an adverse fee award irrelevant.
 20         Perfect 10’s Position
 21         Plaintiffs are not only completely wrong in their interpretation of the law, but
 22 their claims are contrary to the key allegations in their FAC. Paragraph 38 of their
 23 FAC states, “Beginning in early 2014, Perfect 10, through Zada and in conspiracy
 24 with him, began unlawfully transferring Perfect 10’s corporate assets to Zada as it
 25 became reasonably apparent that Perfect 10 would be ultimately be held liable for
 26 Plaintiff’s attorney’s fees and costs in defeating Perfect 10’s unmeritorious suit.”
 27 Paragraph 40 of their FAC alleges, “(3) the transfers happened when it became
 28
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  1 reasonably apparent that a large judgment would be entered against Perfect 10 as a
  2 result of its unmeritorious and unsuccessful suit for copyright infringement.”
  3 Defendants have the right to propound RFAs which, if admitted, destroy allegations
  4 made in the FAC. The above RFAs do just that. The RIAA’s Amicus brief makes
  5 clear that it believed that the District Court got direct, vicarious, and contributory
  6 infringement wrong. The MPAA and the Justice Department and the Copyright
  7 Office filed Amicus briefs which sought to reverse portions of the District Court’s
  8 rulings. Those are facts critical to the proper resolution of this case.
  9                13.    Requests Regarding Hypotheticals Regarding the Concept of
 10                       Theft
 11      • No. 233: Admit that copyright holders who file cases against parties who
 12         they believe are engaged in blatant copyright infringement, do not expect to
 13         lose, let alone be ordered to pay millions in attorney’s fees.
 14      • No. 234: Admit that awarding millions in fees to parties engaged in “blatant
 15         copyright infringement” and against copyright holders whose works they use
 16         without permission, does not further the purposes of the copyright act.
 17      • No. 235: Admit that the fact that a theft of tangible property was
 18         “automated,” would not be a viable defense.
 19      • No. 238: Admit that if one steals a car using a robot, the fact that the theft
 20         was accomplished in some automated fashion would not be a viable defense.
 21      • No. 239: Admit that if someone wrote a program which was able to
 22         automatically remove money from other people’s bank accounts, the fact that
 23         the theft was automated would not be viable defense.
 24      • No. 240: Admit that if someone has a car lot which contains stolen cars and
 25         legally owned cars, the fact that one sells all of the cars on the lot does not
 26         protect them from being prosecuted for selling the stolen cars.
 27         Giganews and Livewire’s Position
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION     76
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  1         These requests target information with no bearing on the transfers from
  2 Perfect 10 to Zada made to frustrate enforcement of the judgment. They pose
  3 vague and unanswerable hypotheticals about “blatant” copyright infringement, bank
  4 robbery software, and a robotic car thief. As hypotheticals, they are improper:
  5 “[s]ince requests to admit must be connected to the facts of the case, courts do not
  6 permit ‘hypothetical’ questions within requests for admission.” Buchanan v. Chi.
  7 Transit Auth., No. 16-cv-4577, 2016 WL 7116591, at *5 (N.D. Ill. Dec. 7, 2016)
  8 (internal quotes omitted).
  9         Perfect 10’s Position
 10         Plaintiffs’ case rests on the following allegation from paragraphs 38 and 40
 11 of their FAC. “Beginning in early 2014, Perfect 10, through Zada and in
 12 conspiracy with him, began unlawfully transferring Perfect 10’s corporate assets to
 13 Zada as it became reasonably apparent that Perfect 10 would ultimately be held
 14 liable for Plaintiff’s attorney’s fees and costs in defeating Perfect 10’s
 15 unmeritorious suit.”
 16         The above RFAs seek to establish in a common sense way, that it was not
 17 reasonably apparent that Perfect 10 would ultimately be held liable for its thief’s
 18 attorney’s fees.
 19                14.    Requests Regarding Message-IDs
 20      • No. 332: Admit that Giganews’s DMCA instructions ask for “Message-IDs
 21         for all articles the DMCA notice is requesting Giganews take down.” (See
 22         Related Case Dkt. 508-1 Exh. 3, Pg. 11.)
 23      • No. 333: Admit that the DMCA instructions referred to in RFA No. 332 do
 24         not explain how to find Message-IDs.
 25      • No. 334: Admit that the DMCA instructions referred to in RFA No. 332 do
 26         not advise copyright holders how the Giganews Mimo newsreader can be
 27         used to rapidly obtain thousands of Message-IDs.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    77
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  1      • No. 335: Admit that the DMCA instructions referred to in RFA No. 332 do
  2         not specifically require that the Message-IDs provided be machine readable.
  3      • No. 336: Admit that Message-IDs are character strings providing no message
  4         comprehensible in any human language.
  5      • No. 337: Admit that there is no requirement in the DMCA that a compliant
  6         notice must contain Message-IDs.
  7      • No. 338: Admit that prior to Perfect 10 v. Giganews, no Court had ever
  8         required that a compliant DMCA notice contain Message-IDs, yet alone
  9         machine- readable Message-IDs.
 10      • No. 339: Admit that other Usenet operators processed Perfect 10’s DMCA
 11         notices that did not contain message-IDs, but that Giganews refused to do so.
 12      • No. 340: Admit that in paragraph 14 of Related Case Dkt. 550-7, Perfect 10’s
 13         expert, Professor Douglas Tygar, states, “Message-IDs are certainly one way
 14         of referring to messages. But they are by no means the only way.”
 15      • No. 341: Admit that paragraph 15 of Related Case Dkt. 550-7 states, “While
 16         Message-IDs do allow particular Usenet messages to be identified, they most
 17         certainly are not the only way to identify messages. Such a claim is akin to
 18         asserting that ISBNs are the only unique way to identify a book. It is true that
 19         one can identify a book by ISBN, but in ordinary discourse, an ISBN has no
 20         meaning. Few people are likely to understand a person who says she has just
 21         read 978- 0316055437; but if she says she has just read the American
 22         hardcover edition of Donna Tartt’s The Goldfinch, one can immediately
 23         understand. Information in a header, such as the account posting the message,
 24         the message title, and date, also identifies a message or a group of
 25         messages…”
 26      • No. 342: Admit that in paragraph 16 of Related Case Dkt. 550-7 states,
 27         “Specifying a search is a convenient way to specify a set of messages when
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    78
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  1         they all contain the same distinctive search term in their message titles. For
  2         example, I have been informed by Perfect 10 that a Mimo search in the
  3         newsgroup alt.binaries.pictures.erotica.scanmaster for the term
  4         ‘perfecttengallery’ yields a single .zip file containing exclusively Perfect 10
  5         copyrighted content (approximately 4,951 Perfect 10 images). In this
  6         instance, specifying the search term ‘perfecttengallery’ is a far more efficient
  7         way of identifying and locating all of the infringing content contained in that
  8         .zip file than providing the associated list of approximately 4,951 Message-
  9         IDs.”
 10      • No. 343: Admit that paragraph 17 of Related Case Dkt. 550-7 states,
 11         “However, even if Giganews needs Message-IDs to remove files, those
 12         Message- IDs can be extracted from a search in seconds using a mechanism
 13         that exists in the Mimo newsreader distributed by Giganews.”
 14      • No. 344: Admit that page 4 of Related Case Dkt. 550-7 contains the heading
 15         “Single Message-IDs are Inadequate for Identifying Files Stored on
 16         USENET.”
 17      • No. 345: Admit that page 8 of Related Case Dkt. 449-3 contains a heading “
 18         RAPID EXTRACTION OF THOUSANDS OF MESSAGE-IDS IN
 19         SECONDS”
 20      • No. 346: Admit that paragraph 18 of Related Case Dkt. 449-3 states, “In
 21         Exhibit 1, the disk, in a folder labelled ‘Video Demonstrations,’ I have
 22         included a number of videos demonstrations which I created that show how I
 23         was able to extract thousands of Message-IDs/Message Headers into text
 24         files using the Mimo or Newsrover newsreaders in anywhere from 15
 25         seconds to at most a few minutes.”
 26      • No. 347: Admit that paragraph 19 of Related Case Dkt. 449-3 states, “In
 27         Video 2, I perform a search on the term ‘perfecttengallery’ in the newsgroup,
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    79
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  1         alt.binaries.pictures.erotica, scanmaster. One result, a 639MB .zip file
  2         appears, containing exclusively Perfect 10 images. I use the Mimo
  3         newsreader’s ‘copy NZB to clipboard’ option to extract the approximately
  4         4,951 Message-IDs corresponding to the infringing messages containing the
  5         infringing images into a text file. It took about ten seconds in total to extract
  6         the 4,951 Message-IDs.”
  7      • No. 350: Admit that paragraph 11 of Related Case Dkt. 650-8 states, “On or
  8         about May 21, 2014, Perfect 10 learned for the first time that the Mimo
  9         newsreader created by Giganews included an automatic Message-ID
 10         extraction feature…Thereafter, Perfect 10 used this feature to provide
 11         Defendants, on June 26, 2014, with approximately 54,000 machine readable,
 12         full Message-Headers (which contained machine readable Message-IDs).
 13         Those 54, 000 full Message- Headers were contained in a folder labeled ‘Full
 14         Message Headers extracted using Automatic Message-ID Extraction Feature’
 15         which Perfect 10 produced to Defendants on that day. As of today,
 16         Defendants have still not processed the Message-IDs in those Message
 17         Headers or removed the corresponding messages associated with the
 18         Message-IDs in those Message Headers.”
 19      • No. 351: Admit that paragraph 12 of Related Case Dkt. 650-8 states,
 20         “Attached hereto as Exhibit 1 is a sample of what Perfect 10 provided
 21         Defendants with respect to the full Message-Headers described in the
 22         previous paragraph. … Page 1 shows a portion of the production of the
 23         54,000 machine readable, full Message-Headers/Message-IDs which Perfect
 24         10 provided to Defendants on June 26, 2014…”
 25      • No. 352: Admit that Perfect 10 stated in its third brief on cross appeal of the
 26         judgment in the Related Case before the Ninth Circuit, filed on 6/21/2016 on
 27         page 54, “Although P10 used this feature almost immediately thereafter to
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    80
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  1         provide Defendants with 54,000 machine-readable Message-IDs in June
  2         2014, Giganews did not remove most of P10’s images from its servers until
  3         late 2015. 2ER0413- 14(¶¶11-12);2ER0418-19.”
  4      • No. 353: Admit that Giganews did not immediately process all of the 54,000
  5         machine-readable Message-IDs provided by Perfect 10 on June 26, 2014.
  6      • No. 354: Admit that Giganews did not immediately process any of the
  7         54,000 machine-readable Message-IDs provided by Perfect 10 on June 26,
  8         2014.
  9      • No. 355: Admit that the Ninth Circuit stated on page 24 of its 1/23/2017
 10         ruling in the appeal of the Related Case, “Moreover, the record is clear that
 11         when Giganews did receive machine-readable Message-IDs, it immediately
 12         processed them and subsequently removed the messages from its servers.”
 13      • No. 356: Admit that GIGANEWS continued to make Perfect 10 images
 14         available to its subscribers upon request, even after receiving machine
 15         readable Message-IDs which identified the messages containing those
 16         images.
 17      • No. 357: Admit that in his order, Related Case Dkt. 620, on page 12, Judge
 18         Birotte Jr. found “the evidence before the Court is undisputed that the only
 19         method for consistently identifying a specific Usenet message that Giganews
 20         could promptly remove is the post’s Message-ID.”
 21      • No. 358: Admit that this finding was not consistent with the declaration
 22         submitted by Professor Tygar as Related Case Dkt. 550-7.
 23      • No. 359: Admit that in his order, Related Case Dkt. 620, on page 12, Judge
 24         Birotte, Jr. found “While some of Perfect 10’s takedown notices have
 25         included the relevant Message-ID (undisputedly conferring knowledge on
 26         Giganews), the evidence shows that Giganews promptly disabled access to
 27         the offending messages. (Dkt. No. 442, ¶39.)”
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   81
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  1      • No. 360: Admit that Related Case Dkt. No. 442 ¶39 states, “To the extent
  2         that Perfect 10 has provided Giganews with legible Message-IDs for
  3         allegedly infringing messages, Giganews has disabled access to those Usenet
  4         messages if they were on Giganews’s servers. For instance, at one point I
  5         received what I understood to be a copy of an August 23, 2014 letter from
  6         Perfect 10’s counsel, Lynell Davis, to Defendant’s counsel. (That letter is
  7         Exhibit 25 of the Declaration of Todd R. Gregorian, filed concurrently
  8         herewith.) The letter includes ‘sample notices’ containing attachments that
  9         list Message-IDs. Giganews has disabled access to the associated messages.”
 10      • No. 361: Admit that Related Case Dkt. No. 442 ¶39 does not state that
 11         Giganews promptly disabled access to any identified messages.
 12      • No. 362: Admit that Related Case Dkt. 442 was a declaration by Philip
 13         Molter that was signed on September 15, 2014.
 14      • No. 363: Admit that Giganews received approximately 54,000 machine
 15         readable Message-IDs from Perfect 10 in June 2014.
 16      • No. 364: Admit that in fact Giganews did not promptly disable any of the
 17         54,000 machine readable Message-IDs received from Perfect 10 in June
 18         2014.
 19      • No. 365: Admit that in his declaration (Related Case Dkt. 506), in paragraph
 20         47, Dr. Zada states, “Giganews has also failed to process a number of
 21         Message-IDs contained in DMCA notices which Perfect 10 emailed to
 22         Defendants.”
 23         Giganews and Livewire’s Position
 24         These requests attempt to re-litigate the merits of the copyright case Perfect
 25 10 lost. “Message-IDs” are the only reasonable means by which a Usenet service
 26 can uniquely identify a particular Usenet message. In the original case, the Court
 27 noted that Perfect 10 could have—in a matter of minutes—provided the Message-
 28
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  1 IDs for thousands of Usenet messages for which it claimed copyright infringement,
  2 thus allowing Giganews to remove the messages and resolve the dispute. Related
  3 Case Dkt. No. 620 at 12-13. Perfect 10 elected not to do so. Id.
  4         Perfect 10’s requests ask Defendants to confirm, in excruciating detail, the
  5 contents of the summary judgment record and the Court’s orders on this subject.
  6 The requests thus bear no connection to the fraudulent transfer claims in this case.
  7 As discussed above, an adverse fee award is a reasonably foreseeable risk of
  8 copyright litigation. The requests are irrelevant to show otherwise.
  9         Perfect 10’s Position
 10         The RFAs are mostly easy to answer in the affirmative because they ask
 11 Plaintiffs merely to admit that certain language appears in certain documents. As
 12 noted above, Plaintiffs case rests on their allegations in paragraphs 38 and 40 of
 13 their FAC, that Perfect 10 expected to lose early on. The RIAA’s Amicus brief
 14 makes clear that in the RIAA’s opinion, Perfect 10 should have won. The above
 15 RFAs relate to yet another reason why Perfect 10 believed it would win, which was
 16 not covered by the RIAA in its Amicus briefs.
 17                15.    Requests Regarding Giganews Deposition Responses
 18      • No. 366: Admit that Jonah Yokubaitis was deposed on April 30, 2014.
 19      • No. 367: Admit that at the time he was deposed, Jonah Yokubaitis was a co-
 20         owner of Giganews, Inc.
 21      • No. 368: Admit that Jonah Yokubaitis had served as CEO of Giganews, Inc.
 22         at the time of his deposition on April 30, 2014.
 23      • No. 369: Admit that in response to the deposition question: “Can you give
 24         me an estimate as to how many years you worked for Texas Networking,
 25         Inc?” asked to him during his 4/30/2014 deposition, Jonah Yokubaitis
 26         responded, “Over one and under 100.”
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   83
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  1      • No. 370: Admit that in response to the deposition question: “Who are the
  2         other shareholders in Giganews, Inc., to your understanding as of today other
  3         than you,” asked to him during his 4/30/2014 deposition, Jonah Yokubaitis
  4         responded, “I am not sure.”
  5      • No. 371: Admit that the following sequence of questions and answers
  6         occurred during the 4/30/2014 deposition of Jonah Yokubaitis: “Q. The
  7         servers that Giganews owned during your tenure as CEO, what was stored on
  8         those servers? A. I am not sure. Q. Where were those servers located? A. I
  9         am not sure. Q. Who would know the answers to where the servers were
 10         located? A. I am not sure. That was a long time ago. Q. Who would know
 11         what was stored on those servers? A. I don’t know.”
 12      • No. 372: Admit that in response to the deposition question: “And my – and
 13         my question was different. It is simply, does Giganews maintain messages on
 14         its servers?” asked to him during his 4/30/2014 deposition, Jonah Yokubaitis
 15         responded, “I don’t know.”
 16      • No. 373: Admit that in response to the deposition question: “During the time
 17         that you were CEO, did Giganews maintain messages on its servers as part of
 18         its Usenet subscription service?” asked to him during his 4/30/2014
 19         deposition, Jonah Yokubaitis responded, “I don’t know.”
 20      • No. 374: Admit that in response to the deposition question asked to him
 21         during his 4/30/2014 deposition: “The servers that Giganews owned during
 22         your tenure as CEO, what was stored on those servers?” Jonah Yokubaitis
 23         responded, “I am not sure.”
 24      • No. 375: Admit that in response to the deposition question: “During your
 25         tenure as CEO of the Company, could Giganews’ customers download songs
 26         from Giganews’s Usenet servers using their Giganews’ membership?” asked
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   84
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  1         to him during his 4/30/2014 deposition, Jonah Yokubaitis responded, “I just
  2         don’t know.”
  3      • No. 376: Admit that in response to the deposition question: “In other words,
  4         why did people pay for a membership from Giganews?” asked to him during
  5         his 4/30/2014 deposition, Jonah Yokubaitis responded, “I don’t – I don’t
  6         know why.”
  7      • No. 377: Admit that in response to the deposition question: “During your
  8         tenure, sir, did the Company, Giganews, have any policy that prohibited the
  9         copying and displaying of copyrighted material?” asked to him during his
 10         4/30/2014 deposition, Jonah Yokubaitis responded, “I don’t know.”
 11      • No. 378: Admit that, in response to the deposition question: “Has any movie
 12         studio ever asked Giganews to stop reproducing and distributing its movies?”
 13         Ronald Yokubaitis responded in his 1/23/2014 deposition, “No ma’am.” See
 14         page 35 of the transcript.
 15      • No. 379: Admit that Mr. Yokubaitis’ response referred to in RFA No. 378
 16         was not correct.
 17      • No. 380: Admit that in response to the deposition question: “Has any
 18         recording studio ever asked Giganews to stop reproducing or distributing its
 19         songs?” Mr. Yokubaitis responded, “We don’t reproduce songs.” (See
 20         Transcript, page 38.)
 21      • No. 381: Admit that in response to the deposition question: “Has any
 22         uploader of a full length movie to the Giganews’ Usenet servers ever
 23         demonstrated that they were authorized by the copyright holder to upload
 24         that movie?” Mr. Yokubaitis responded, “I don’t know ma’am.” (See
 25         Transcript page 95.)
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   85
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  1      • No. 382: Admit that when asked the follow-up deposition question, “Who at
  2         Giganews would know?” Mr. Yokubaitis responded, “I don’t know who at
  3         Giganews, if any, would know.”
  4      • No. 383: Admit that, when asked the deposition question, “How many
  5         employees did Giganews have at the end of 2013?” Mr. Yokubaitis
  6         responded, “I don’t know, we could – I don’t know.”
  7      • No. 384: Admit that, when asked the follow up deposition question, “Were
  8         there more than 20 employees at the end of 2013?” Mr. Yokubaitis answered,
  9         “I don’t know.”
 10      • No. 385: Admit that Giganews actually had over 200 employees at the end of
 11         2013.
 12      • No. 386: Admit that when asked the deposition question, “What was the total
 13         Giganews payroll in 2012?” Mr. Yokubaitis responded, “I don’t know,
 14         ma’am.” (See Transcript page 101.)
 15      • No. 387: Admit that asked the follow-up deposition question, “Was it over
 16         $10 million?” Mr. Yokubaitis responded, “The – I don’t know the payroll,
 17         ma’am.”
 18      • No. 388: Admit that when asked the follow-up deposition question, “Do you
 19         know if the payroll for Giganews in 2012 was over $1 million?” Mr.
 20         Yokubaitis responded, “No, I don’t know.”
 21      • No. 389: Admit that during his deposition, Mr. Yokubaitis could not identify
 22         any of the programmers who ever worked for Giganews. (See Transcript
 23         pages 103- 104.)
 24      • No. 390: Admit that in response to the deposition question, “Giganews’s
 25         Usenet servers offer content to Giganews’s subscribers, exclusively,
 26         correct?” Mr. Yokubaitis responded, “We don’t offer content, ma’am.” (See
 27         Transcript page 107.)
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   86
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  1      • No. 391: Admit that in response to the deposition question, “Can a Giganews
  2         customer download a message containing a song from the Giganews Usenet
  3         servers?” Mr. Yokubaitis responded, “Again, ma’am, I don’t know.” (See
  4         Transcript page 122.)
  5      • No. 392: Admit that in response to the follow-up deposition question: Who
  6         would know?” Mr. Yokubaitis responded, “I don’t know who would know.”
  7         (See Transcript page 122.)
  8      • No. 393: Admit that Shane Menking was deposed on March 22, 2014.
  9      • No. 394: Admit that Shane Menking testified in his deposition, “I am the
 10         Chief Financial Officer of Giganews.” (See Transcript Page 9:18-19.)
 11      • No. 395: Admit that Mr. Menking testified at his deposition that he had
 12         worked for Giganews “Approximately six years.” (See transcript Page 14:3-
 13         5.)
 14      • No. 396: Admit that in response to the deposition question, “Why do you
 15         believe people – subscribers pay Giganews their monthly fee? Mr. Menking
 16         answered, “I don’t know.” (See Transcript Page 121:6-11.)
 17      • No. 397: Admit that in response to the deposition question: “Is there an
 18         individual at Giganews who would have some insight regarding the reasons
 19         subscribers subscribe to its services?” Mr. Menking answered, “I don’t know
 20         who that individual would be, I don’t have any insight.” (See Transcript Page
 21         121:20-122:2.)
 22      • No. 398: Admit that in response to the deposition question, “And to the best
 23         of your knowledge, what’s contained in Usenet messages?” Mr. Menking
 24         answered, “I don’t know.” (See Transcript Page 82:3-8.)
 25      • No. 399: Admit that in response to the follow-up deposition question, “And
 26         who would know?” Mr. Menking responded, “I don’t know if anyone could
 27         answer that question.” (See Transcript Page 38:10-13.)
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   87
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  1      • No. 400: Admit that in response to the deposition question, “Do you have
  2         any reason to believe that Giganews has ever stored messages on its server
  3         that contain movies or portions of movies? Mr. Menking answered: “I don’t
  4         have a reason to believe that.”
  5      • No. 401: Admit that in response to the deposition question, “Do you have
  6         any reason to believe that Giganews has ever stored messages on its servers
  7         that contain songs or portions of songs?” Mr. Menking answered, “No.” (See
  8         Transcript Page 120:13-18.)
  9      • No. 402: Admit that in response to the deposition question, “Is there anyone
 10         at Giganews whose duties include reducing the amount of infringement on
 11         Giganews’s Usenet servers?” Mr. Menking answered, “I am not aware of –
 12         of infringement on Giganews’s Usenet servers.” (See Transcript Page 130:4-
 13         11.)
 14      • No. 403: Admit that in response to the deposition question, “How many
 15         employees did Giganews have at the end of 2013?” Mr. Menking responded,
 16         “I don’t know.” (See Transcript Page 26:18-20.)
 17      • No. 404: Admit that in response to the follow-up deposition question, “And
 18         who would know that?” Mr. Menking responded, “I don’t know.” (See
 19         Transcript Page 26:21-22.)
 20      • No. 405: Admit that in response to the deposition question, “What was the
 21         total Giganews’ payroll at the end of 2013?” Mr. Menking responded, “I
 22         don’t know.” (See Transcript Page 27:1-3.)
 23      • No. 406: Admit that in response to the follow-up deposition question, “And
 24         who would know that?” Mr. Menking responded, “I don’t know.” (See
 25         Transcript Page 27, 4-5.)
 26
 27
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION   88
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  1      • No. 407: Admit that in response to the deposition question, “Are there
  2         documents that provide the total payroll of Giganews by year?” Mr. Menking
  3         responded, “I don’t know.”
  4      • No. 408: Admit that in response to the deposition question, “Does somebody
  5         keep track of how much money or compensation is paid to Giganews’
  6         employees?” Mr. Menking answered, “I don’t know.” (See Transcript Page
  7         30:6-7.)
  8      • No. 409: Admit that in response to the follow-up deposition question, “And
  9         who would know?” Mr. Menking responded, “I don’t know.” (See Transcript
 10         Page 30:9-10.)
 11      • No. 410: Admit that in response to the deposition question, “And what is
 12         your annual pay from Powerhouse Management?” Mr. Menking answered, “I
 13         don’t know my annual pay specifically.”
 14         Giganews and Livewire’s Position
 15         Confirming individual questions and answers in deposition testimony from
 16 the original case would be a pointless and burdensome exercise in and of itself. But
 17 as in the other categories discussed above, these requests attempt to re-litigate the
 18 merits of the copyright case Perfect 10 lost, and they have no relevance to the
 19 claims in this case. The requests ask Giganews to confirm Mr. Yokubaitis’s and
 20 Mr. Menking’s testimony about the number of employees at Giganews, Mr.
 21 Menking’s salary information, and similar subjects. Given their lack of connection
 22 to any relevant or non-burdensome discovery purpose, the Court should issue a
 23 protective order as to these requests.
 24         Perfect 10’s Position
 25         As noted above, Plaintiffs case rests on their allegations in paragraphs 38 and
 26 40 of their FAC, that Perfect 10 expected to lose early on. The above RFAs are
 27 easy to answer because they simply ask Plaintiffs to admit as to what their
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    89
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  1 deponents stated in their depositions. The RFAs will minimize the effort needed
  2 for Defendants to establish that Plaintiffs were clearly lying in their depositions, yet
  3 another reason why Defendants expected to easily win the related case.
  4 IV.     CONCLUSIONS
  5         Giganews and Livewire’s Conclusion
  6         Perfect 10 and Mr. Zada have continued the discovery abuse that subjected
  7 them to a sanctions order in the original case. Accused of financial fraud, they
  8 nonetheless seek to hide from the Court key information regarding their assets,
  9 liabilities, and transfers between one another. At the same time, they have sought
 10 to use the case to harass and drive up expense by dragging Giganews’s CEO to a
 11 deposition and propounding hundreds of discovery requests on irrelevant and
 12 offensive topics. For the reasons set forth above, Giganews and Livewire
 13 respectfully request that the Court grant the motion enter an order in the form they
 14 have submitted.
 15         Perfect 10’s Conclusion
 16         Plaintiffs, who the RIAA described as “shady companies” engaged in
 17 “blatant copyright infringement,” and whose peering partners have been arrested in
 18 Europe, are once again attempting to smear the victims of their thievery. There is a
 19 reason why the RIAA, MPAA, Justice Department, and the Copyright Office, have
 20 filed Amicus briefs urging reversal of the District Court’s rulings. The District
 21 Court simply got the case wrong, in part because of Plaintiffs orchestrated smear
 22 campaign, and their never ending false and misleading allegations. Defendants
 23 could not possibly have imagined that as a result of getting robbed and fighting
 24 back, they would be bankrupted. Plaintiffs improperly rely on a vacated sanctions
 25 order. There was no discovery abuse by Defendants. In fact, it is Defendants
 26 contention that Plaintiffs created discovery disputes that did not actually exist, just
 27 like they are attempting to do now.
 28
      JOINT STIPULATION RE PLAINTIFFS’ MOTION    90
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  1         Defendants are producing all relevant documents responsive to the RFP 6,
  2 even extremely private and confidential documents that they did not have to
  3 provide, such as Dr. Zada’s loan application for the loan on his home, in order to
  4 once again cooperate fully in the discovery process. The fact that Plaintiffs do not
  5 like the facts that emerge from those documents – because they disprove their
  6 contentions – does not give Plaintiffs license to rummage around in Dr. Zada’s
  7 private financial affairs as they stand now.
  8         Mr. Yokubaitis is not an “apex” deponent. He is a former attorney from
  9 Texas who makes extraordinary sums of money by copying and selling access to
 10 other people’s intellectual property without permission or payment. Defendants are
 11 completely justified in seeking to depose him, particularly since Plaintiffs are pretty
 12 much attempting to obstruct any other type of discovery, as they have produced no
 13 documents, answered few interrogatories, and are attempting to improperly select
 14 the RFAs that they must answer, very late in the game.
 15         Finally, the RFAs are relevant to key contentions in this case, and will
 16 simplify fact questions significantly before trial. Plaintiffs should be required to
 17 answer them in a succinct fashion.
 18 Dated: July 2, 2018                 FENWICK & WEST LLP
 19
 20                                     By:     /s/Todd R. Gregorian
                                                Todd R. Gregorian
 21
                                        Attorneys for Plaintiffs,
 22                                     GIGANEWS, INC. and LIVEWIRE, INC.
 23
      Dated: July 2, 2018               LAW OFFICES OF MATTHEW C. MICKELSON
 24
 25                                     By:     /s/Matthew C. Mickelson
                                                Matthew C. Mickelson
 26
                                        Attorneys for Defendants,
 27                                     PERFECT 10, INC. and NORMAN ZADA
 28
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   1
   2                           ATTESTATION OF SIGNATURES
   3         I hereby attest that the concurrence in the filing of this document has been
   4 obtained from the signatory indicated by a “conformed” signature (/s/) within this
   5 e-filed document.
   6
   7                                             By:        /s/Todd R. Gregorian
                                                            Todd R. Gregorian
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